 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 1 of 73 PageID #:1864




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

UNITED STATES OF AMERICA,              )
                                       )
           Plaintiff,                  )
                                       )   Case No. 22-CR-00115
     v.                                )
                                       )   Honorable John Robert Blakey
MICHAEL J. MADIGAN and                 )
MICHAEL F. McCLAIN,                    )
                                       )
           Defendants.                 )

  MEMORANDUM OF LAW IN SUPPORT OF MICHAEL J. MADIGAN’S
  MOTION TO DISMISS CERTAIN COUNTS OF THE SUPERSEDING
                       INDICTMENT
    Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 2 of 73 PageID #:1865



                                                       Table of Contents

Preliminary Statement.............................................................................................................. 1

The Superseding Indictment.................................................................................................... 5

           I.         RICO Conspiracy ................................................................................................ 6

           II.        Solicitation of Jobs from Utilities ................................................................... 7

                      A.         ComEd ....................................................................................................... 7

                      B.         AT&T ......................................................................................................... 8

           III.       Solicitation of Business for Madigan’s Law Firm ....................................... 9

                      A.         Company A ............................................................................................... 9

                      B.         Company C ............................................................................................. 10

                      C.         Chinatown Parking Lot ....................................................................... 10

Legal Standard .......................................................................................................................... 11

Argument .................................................................................................................................... 12

           I.         The RICO Conspiracy Charge (Count One) Must Be Dismissed........... 12

                      A.         Count One Does Not Allege a RICO Enterprise. ........................... 13

                      B.         Count One Does Not Allege That Madigan and McClain
                                 Agreed to Conduct or Participate in the Affairs of an
                                 Enterprise............................................................................................... 18

                      C.         Count One Charges Racketeering Activity Predicated on
                                 Unconstitutional State Statutes. ...................................................... 22

                                 1.         The Illinois Bribery and Official Misconduct Statutes
                                            Are Facially Overbroad in Violation of the First and
                                            Fourteenth Amendments. ....................................................... 24

                                 2.         The Illinois Bribery and Official Misconduct Statutes
                                            Are Facially Vague in Violation of the Fifth and
                                            Fourteenth Amendments. ....................................................... 32

                                 3.         The Illinois Bribery and Official Misconduct Statutes
                                            Are Void for Vagueness as Applied to Madigan. ............... 36



                                                                       i
Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 3 of 73 PageID #:1866



                      4.         The Illinois Bribery and Official Misconduct Statutes
                                 Cannot Be Sufficiently Narrowed by Judicial
                                 Construction. ............................................................................. 41

    II.    ComEd ................................................................................................................. 42

           A.         The Federal Program Bribery Charges Related to ComEd
                      (Counts Two, Three, Four, and Six) Must Be Dismissed. ........... 42

                      1.         Charges Based on a Bribery Theory Must Be
                                 Dismissed. .................................................................................. 45

                      2.         Charges Based on a Gratuity Theory Must Also Be
                                 Dismissed. .................................................................................. 49

                      3.         Without a Quid Pro Quo Requirement for Bribes or a
                                 Link for Gratuities, § 666 Is Unconstitutional. ................. 51

                      4.         Counts Two, Three, Four, and Six Must Be Dismissed
                                 Because the Indictment Fails to Allege the
                                 Appropriate Mens Rea. ............................................................ 51

           B.         The Travel Act Charges Related to ComEd (Counts Five
                      and Seven) Must Be Dismissed. ........................................................ 56

    III.   Company A ......................................................................................................... 57

           A.         The Federal Program Bribery Charge Related to Company
                      A (Count Eleven) Must Be Dismissed. ............................................. 57

           B.         The Travel Act Charges Related to Company A (Counts
                      Twelve, Thirteen, and Fourteen) Must Be Dismissed. ................ 57

    IV.    Chinatown Parking Lot ................................................................................... 58

           A.         The Federal Program Bribery Charge Related to the
                      Chinatown Parking Lot Must Be Dismissed. ................................. 58

           B.         The Travel Act Charge Related to the Chinatown Parking
                      Lot (Count Twenty-Two) Must Be Dismissed. ............................... 59

    V.     The Conspiracy Charge Related to AT&T (Count Twenty-Three)
           Must Be Dismissed........................................................................................... 59

           A.         Count Twenty-Three Fails to Allege that Madigan Was
                      Aware of and Agreed to Commit a Corrupt Exchange in
                      Violation of § 666. ..................................Error! Bookmark not defined.


                                                           ii
    Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 4 of 73 PageID #:1867



Conclusion .................................................................................................................................. 62




                                                                      iii
    Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 5 of 73 PageID #:1868




                                                     TABLE OF AUTHORITIES

                                                                                                                                            Page(s)

Cases

Baker v. IBP, Inc.,
   357 F.3d 685 (7th Cir. 2004) ................................................................................................................ 14

Bell v. Keating,
    697 F.3d 445 (7th Cir. 2012) ......................................................................................................... passim

Bible v. United Student Aid Funds, Inc.,
    799 F.3d 633 (7th Cir. 2015) .......................................................................................................... 18, 20

Bobb v. Swartz–Retson P.C.,
   2018 WL 4384292 (N.D. Ill. Sept. 14, 2018) ....................................................................................... 20

Boyle v. United States,
   556 U.S. 938 (2009) ................................................................................................................. 13, 14, 18

Broadrick v. Oklahoma,
   413 U.S. 601 (1973) ............................................................................................................................. 42

Ciminelli v. United States,
   143 S.Ct. 1121 (2023) .......................................................................................................................... 43

Citizens United v. Fed. Election Comm’n,
    558 U.S. 310 (2010) ............................................................................................................................. 46

City of Houston, Tex. v. Hill,
    482 U.S. 451 (1987) ............................................................................................................................. 25

Crichton v. Golden Rule Ins. Co.,
    576 F.3d 392 (7th Cir. 2009) ................................................................................................................ 18

Farrell v. Burke,
   449 F.3d 470 (2d Cir. 2006) ........................................................................................................... 37, 41

FCC v. Fox Television Stations, Inc.,
   567 U.S. 239 (2012) ............................................................................................................................. 33

Forsyth County, Ga. v. Nationalist Movement,
   505 U.S. 123 (1992) ............................................................................................................................. 25

Goren v. New Vision Int’l, Inc.,
   156 F.3d 721 (7th Cir. 1998) ................................................................................................................ 18

Guaranteed Rate, Inc. v. Barr,
   912 F. Supp. 2d 671 (N.D. Ill. 2012) .............................................................................................. 14, 20



                                                                          iv
    Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 6 of 73 PageID #:1869



Hamling v. United States,
   418 U.S. 87 (1974) ............................................................................................................................... 11

Hynes v. Mayor and Council of Borough of Oradell,
   425 U.S. 610 (1976) ............................................................................................................................. 33

Kelly v. United States,
    140 S.Ct. 1565 (2020) .......................................................................................................................... 43

McCormick v. United States,
   500 U.S. 257 (1991) ............................................................................................................................. 42

McDonnell v. United States,
   579 U.S. 550 (2016) ...................................................................................................................... passim

Menzies v. Seyfarth Shaw LLP,
   197 F. Supp. 3d 1076 (N.D. Ill. 2016) (Blakey, J.) .............................................................................. 13

NAACP v. Button,
   371 U.S. 415 (1963) ............................................................................................................................. 25

Oberoi v. Mehta,
   2011 WL 1337107 (N.D. Ill. Apr. 6, 2011) .................................................................................... 20, 21

Ocasio v. United States,
   578 U.S. 282 (2016) ....................................................................................................................... 48, 60

People v. Johnson,
   780 N.E.2d 803 (Ill. App. Ct. 2002) ..................................................................................................... 35

People v. Jordan,
   304 N.E.2d 713 (Ill. App. Ct. 1973) ..................................................................................................... 35

Percoco v. United States,
   143 S.Ct. 1130 (2023) .......................................................................................................................... 43

Rao v. BP Products North America, Inc.,
   589 F.3d 389 (7th Cir. 2009) .................................................................................................... 14, 15, 17

Reves v. Ernst & Young,
   507 U.S. 170 (1993) ............................................................................................................................. 18

Salinas v. United States,
    522 U.S. 52 (1997) ............................................................................................................................... 38

Sedima, S.P.R.L. v. Imrex Co.,
    473 U.S. 479 (1985) ............................................................................................................................. 13

Shearson/American Express, Inc. v. McMahon,
   482 U.S. 220 (1987) ............................................................................................................................. 13




                                                                           v
    Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 7 of 73 PageID #:1870



Skilling v. United States,
    561 U.S. 358 (2010) ...................................................................................................................... passim

United Food & Commercial Workers Unions and Employers Midwest Health Benefits
   Fund v. Walgreen Co.,
   719 F.3d 849 (7th Cir. 2013) ......................................................................................................... passim

United States v. Allen,
   10 F.3d 405 (7th Cir. 1993) ............................................................................................................ 47, 48

United States v. Blagojevich,
   794 F.3d 729 (7th Cir. 2015) ................................................................................................................ 52

United States v. Brown,
   973 F.3d 667 (7th Cir. 2020) .......................................................................................................... 12, 13

United States v. Burke,
   Case No. 19-CR-322, 2022 WL 1970189 (N.D. Ill. June 6, 2022) .......................................... 30, 32, 36

United States v. ComEd,
   Case No. 20-CR-368 (N.D. Ill. July 17, 2020), ECF No. 3 ............................................................ 54, 55

United States v. Cook,
   970 F.3d 866 (7th Cir. 2020) ................................................................................................................ 36

United States v. Coscia,
   866 F.3d 782 (7th Cir. 2017) .................................................................................................... 36, 37, 41

United States v. Davis,
   139 S. Ct. 2319 (2019) ................................................................................................................... 32, 42

United States v. Donagher,
   520 F. Supp. 3d 1034 (N.D. Ill. 2021) .................................................................................................. 11

United States v. Gimbel,
   830 F.2d 621 (7th Cir. 1987) ................................................................................................................ 12

United States v. Huet,
   665 F.3d 588 (3d Cir. 2012), abrogated on other grounds by Rehaif v. United States,
   139 S. Ct. 2191 (2019) ................................................................................................................... 11, 12

United States v. Jennings,
   160 F.3d 1006 (4th Cir. 1998) .................................................................................................. 46, 47, 48

United States v. Johnson,
   621 F.2d 1073 (10th Cir. 1980) ............................................................................................................ 46

United States v. Jones,
   689 F.3d 696 (7th Cir. 2012) ................................................................................................................ 32

United States v. Kelerchian,
   937 F.3d 895 (7th Cir. 2019) .......................................................................................................... 48, 60


                                                                         vi
    Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 8 of 73 PageID #:1871



United States v. Lanier,
   520 U.S. 259 (1997) ....................................................................................................................... 36, 41

United States v. McClain,
   20 CR 812, Dkt. 357 ............................................................................................................................... 4

United States v. McClain,
   20-CR-812, Dkt. 1 (N.D. Ill. 2020) ...................................................................................................... 21

United States v. McClain,
   Case No. 20-CR-812, 2022 WL 488944 (N.D. Ill. Feb. 17, 2022) ................................................ 21, 44

United States v. Mills,
   140 F.3d 630 (6th Cir. 1998) .......................................................................................................... 55, 56

United States v. Olson,
   450 F.3d 655 (7th Cir. 2006) ................................................................................................................ 12

United States v. Panarella,
   277 F.3d 678 (3d Cir. 2002), abrogated on other grounds by Skilling v. United States,
   561 U.S. 358 (2010) ............................................................................................................................. 12

United States v. Pirro,
   212 F.3d 86 (2d Cir. 2000) ................................................................................................................... 11

United States v. Resendiz–Ponce,
   549 U.S. 102 (2007) ...................................................................................................................... passim

United States v. Ring,
   706 F.3d 460 (D.C. Cir. 2013).............................................................................................................. 61

United States v. Risk,
   843 F.2d 1059 (7th Cir. 1988) ............................................................................................ 53, 54, 55, 56

United States v. Robinson,
   663 F.3d 265 (7th Cir. 2011) .................................................................................................... 52, 55, 56

United States v. Snyder,
   71 F. 4th 555 (7th Cir. 2023) ......................................................................................................... passim

United States v. Stevens,
   559 U.S. 460 (2010) ............................................................................................................................. 24

United States v. Sun–Diamond Growers of Cal.,
   526 U.S. 398 (1999) ...................................................................................................................... passim

United States v. Tello,
   687 F.3d 785 (7th Cir. 2012) ................................................................................................................ 38

United States v. Thirty-Seven (37) Photographs,
   402 U.S. 363 (1971) ............................................................................................................................. 42



                                                                         vii
    Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 9 of 73 PageID #:1872



United States v. White,
   610 F.3d 956 (7th Cir. 2010) ................................................................................................................ 11

United States v. Williams,
   553 U.S. 285 (2008) ............................................................................................................................. 25

Wash. St. Grange v. Wash. St. Republican Party,
   552 U.S. 442 (2008) ............................................................................................................................. 24

Wis. Right to Life, Inc. v. Barland,
    751 F.3d 804 (7th Cir. 2014) .......................................................................................................... 32, 33

Statutes

720 ILCS § 5.33-1(d)-(e) ............................................................................................................................ 22

720 ILCS § 5/33-1 ...................................................................................................................................... 42

720 ILCS § 5/33-1(a), (d), (e) ............................................................................................................... 58, 59

720 ILCS § 5/33-1(d) ........................................................................................................................... passim

720 ILCS § 5/33-1(e) ........................................................................................................................... passim

720 ILCS § 5/33-3(a)(4) ...................................................................................................................... passim

720 ILCS § 5/33-8 .................................................................................................................................. 7, 22

720 ILCS § 645/1 .................................................................................................................................... 7, 22

780 ILCS § 5/33-1(d) .................................................................................................................................. 58

780 ILCS § 5/33-1(e) .................................................................................................................................. 58

18 U.S.C. § 2 ................................................................................................................................................. 6

18 U.S.C. § 201(a)(3) .................................................................................................................................. 26

18 U.S.C. § 201(b) ................................................................................................................................ 43, 46

18 U.S.C. § 201(c) ...................................................................................................................................... 46

18 U.S.C. § 201(c)(1)(B) ............................................................................................................................ 32

18 U.S.C. § 371 ................................................................................................................................. 6, 46, 48

18 U.S.C. § 666 .................................................................................................................................... passim

18 U.S.C. § 666(a)(1)(B) .................................................................................................................. 6, 43, 46

18 U.S.C. § 666(a)(2) .................................................................................................................................. 48



                                                                             viii
   Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 10 of 73 PageID #:1873



18 U.S.C. § 666(c) ...................................................................................................................................... 52

18 U.S.C. § 1343 ........................................................................................................................................... 6

18 U.S.C. § 1346 ........................................................................................................................................... 6

18 U.S.C. § 1951 ........................................................................................................................................... 7

18 U.S.C. § 1951(a) ...................................................................................................................................... 6

18 U.S.C. § 1952 ........................................................................................................................................... 7

18 U.S.C. § 1952(a)(3) ........................................................................................................................ 6, 7, 10

18 U.S.C. § 1961(4) .................................................................................................................................... 13

18 U.S.C. § 1961 et seq........................................................................................................................ passim

18 U.S.C. § 1962(a) .................................................................................................................................... 14

18 U.S.C. § 1962(c) .................................................................................................................. 12, 14, 18, 19

18 U.S.C. § 1962(d) .................................................................................................................... 6, 12, 14, 18

21 U.S.C. § 841 ........................................................................................................................................... 51

I.C.1–2 ............................................................................................................................................ 56, 58, 59

§ 855 of the Controlled Substances Act ...................................................................................................... 52

December 1, 2016 for the Future Energy Jobs Act ..................................................................................... 49

December 1, 2016 when the Future Energy Jobs Act ............................................................................... 3, 4

EIMA ...................................................................................................................................................... 8, 44

Energy Infrastructure and Modernization Act .............................................................................................. 4

FEJA ................................................................................................................................................. 8, 40, 41

Individual 13W-1, Individual 13W-2, and Individual 23W-1, Individual BM-1, Law .............................. 53

Pub. L. No. 91-452, § 904(a), 84 Stat. 922, 947 ......................................................................................... 13

RICO ..................................................................................................................................................... 13, 20

Travel Act ............................................................................................................................................ passim

Rules

Fed. R. Crim. Proc. 7(d) ....................................................................................................................... passim




                                                                              ix
   Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 11 of 73 PageID #:1874



Fed. R. Crim. Proc. 12(b)(3)(B)(v) ...................................................................................................... passim

Other Authorities

First Amendment ...................................................................................................................... 24, 25, 57, 58

Fifth Amendment ...................................................................................................................... 48, 57, 58, 62

Sixth Amendment ................................................................................................................................. 48, 62

First, Fifth, and Fourteenth Amendments ....................................................................................... 56, 58, 59

First and Fourteenth Amendments .............................................................................................................. 31

Email from M. McClain to F. Marquez on January 19, 2016, regarding “Did we hire Tom
   Walsh? Under [REDACTED]? Best, Mike.” Publicly available at:
   https://ilga.gov/house/committees/101Documents/BSPE/2016.01.19%20COMED-
   SIC-0000109.pdf .................................................................................................................................. 40

Email from M. McClain to F. Marquez on November 6, 2015, regarding “Walsh's
   Resume.” Publicly available at:
   https://ilga.gov/house/committees/101Documents/BSPE/2015.11.09%20COMED-
   SIC-0000105.pdf .................................................................................................................................. 40

House Bill 5626 (introduced in 2018 but never enacted) ............................................................................. 8

House Roll Call for Senate Bill 2814, 99th General Assembly for the State of Illinois
   (Dec. 1, 2016). Publicly available at:
   https://www.ilga.gov/legislation/votehistory/99/house/09900SB2814_12012016_007
   000T.pdf ............................................................................................................................................... 40

Publicly available at: https://apps.ilsos.gov/lobbyistsearch/ ................................................................. 40, 41

Publicly available at:
   https://www.ilga.gov/house/committees/101Documents/BSPE/2016.07.16%20COM
   ED-SIC-0000154.pdf ........................................................................................................................... 40

Senate Bill 9 .................................................................................................................................................. 8

Senate Bill 1839 ............................................................................................................................................ 9

U.S. Const. Amendment I .................................................................................................................... passim

U.S. Const. Amendment V .................................................................................................................. passim

U.S. Const. Amendment XIV .............................................................................................................. passim




                                                                               x
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 12 of 73 PageID #:1875




                               Preliminary Statement

      Over the course of the prior decade, Madigan responded to requests for

assistance in finding employment from hundreds of constituents. He arranged

introductions and, in some instances, asked private employers to consider individuals

for various positions. Some received employment, some did not. There was no federal

or state rule or regulation that forbid such recommendations. Madigan simply

responded to requests for help, no different than tens of thousands of other

lawmakers working in state capitals across the country who field similar requests.

And, frankly, no different than numerous public officials from the executive,

legislative, and judicial branches of federal and state governments. These requests

for, and offers of, assistance are commonplace interactions between public officials

and citizens, and they persist to this day.

      Nonetheless, the government picked a handful of recommendations, labeled

the individuals at issue as “cronies” and alleged that Madigan himself received bribes

because private employers hired and compensated these individuals. The government

cried foul because these employers, two of the state’s largest utilities, had legislation

pending in Springfield that would affect their businesses at various points during the

same decade. Missing from the government’s investigation, however, was any

evidence that these private employers’ hiring decisions had any effect whatsoever on

what Madigan did or did not do as it related to these pieces of legislation. Even where

Madigan literally did nothing―not even vote on a bill―the government screamed

bribery because, as Speaker, Madigan could have chosen not to call the bill. The

government     has    bought     into   the       well-funded,   persistent,   and―most


                                              1
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 13 of 73 PageID #:1876




importantly―false media campaign from Republican opponents that Springfield was

a one-man operation and utterly ignored the efforts of numerous legislators (on both

sides of the aisle), lobbyists, and advocacy groups who worked hard to move

important, consumer-focused legislation through the process.

      The Superseding Indictment does not allege a quid pro quo between the job

hires and any official act that Madigan took or refrained from taking. In 117 pages,

the Superseding Indictment does not allege a single word spoken to or by Madigan

connecting these job recommendations to any official act by him. Nor does it more

generally allege that Madigan took (or agreed to take, or refrained from taking, or

agreed to refrain from taking) official action in exchange for any hiring decisions

made by ComEd and AT&T. The government carefully avoids any such factual

allegation. Instead, it asserts, in the most conclusory terms, that Madigan “accepted”

job hires “intending to be influenced” in connection with legislation affecting the

utilities, on which he voted “in furtherance” (but only in some instances) and to “effect

[the] objects and purposes” of a conspiracy to influence him.

      Critical to defending its decision to bring criminal charges against Madigan

(but not other public officials) based on job recommendations, the prosecution team

has argued for years that the statute at issue―18 U.S.C. § 666―criminalized both

gratuities and bribes and further argued that the statute did not require a quid pro

quo as to both so-called “prongs.” As such, the prosecution posited that the lack of

connection, temporal or otherwise, between Madigan’s official actions and the private

employers’ hiring decisions was not a fatal flaw to its charges. The government was




                                           2
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 14 of 73 PageID #:1877




wrong. In Snyder v. United States, the Supreme Court rejected the government’s

interpretation of § 666 as “a vague and unfair trap for 19 million state and local

officials.” 144 S. Ct. 1947, 1959 (June 26, 2024). The Supreme Court clearly and

definitively held that the statute applies only to bribes, not gratuities, and that

bribery “requires that the official have a corrupt state of mind and accept (or agree to

accept) the payment intending to be influenced in the official act.” Id. at 1955. In

other words, the government must establish a quid pro quo. Yet in its highly

publicized, lengthy speaking indictment, the government fails to allege facts that

would support the notion that Madigan acted corruptly or agreed to, or intended to

agree to, a quid pro quo. For this reason alone, the § 666-related charges in the

indictment fail as a matter of law.

      Snyder upends this prosecution for other reasons. The last official act identified

in the Superseding Indictment related to ComEd was on December 1, 2016 when the

Future Energy Jobs Act (“FEJA”) was called for a vote. (Superseding Indictment,

Dkt. 37, Count II, ¶ 31(u)). The indictment identifies no less than four different hiring

decisions by ComEd that arose and took place after December 1, 2016. First, the

indictment alleges that ComEd hired and compensated Individual FR-1 starting in

March 2017. (Id., Count II, ¶¶ 1(x), 31(y), (ddd)). Second, the indictment alleges that

Madigan (as did a number of other uncharged public officials) recommended

Individual BM-1 to fill a vacant board seat starting in or around November 2017. (Id.,

Count II, ¶ 31(aa)). Third, the indictment alleges that Madigan recommended

Individual 23W-1 in or around April 2018. (Id., Count II, at 31(ll). Fourth, the




                                           3
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 15 of 73 PageID #:1878




indictment alleges that ComEd hired interns related to the 13th Ward in 2017 and

2018. (Id., Count II, ¶¶ 31(z), (ff)-(hh), (eee)). There is no allegation that Madigan

agreed to take official action in exchange for any of these hiring decisions. Nor could

it. The government’s theory, at best, was that these were gratuities related to some

past official act. And, as recognized by Judge Leinenweber in the related ComEd case,

the jury may have determined that all of the hiring decisions at issue were made as

a gratuity to Madigan for the passage of the Energy Infrastructure and

Modernization Act (“EIMA”), which originally passed the Illinois House in 2011

before the alleged conspiracy even took place. United States v. McClain, 20 CR 812,

Dkt. 357, at 14-15. Now that Snyder has held that gratuities are not criminalized by

§ 666, these and the many other allegations of the Superseding Indictment cannot

stand.

         The remaining counts of the Superseding Indictment target conduct unrelated

to ComEd and AT&T, alleging behavior involving real estate projects and Madigan’s

private law firm. Some of those counts fall short because of defects in the statutes the

government invokes and the thinness of the allegations. One overarching failure

stands out, however: the government’s effort to allege a single, all-encompassing

RICO charge in Count One. That count purports to graft together, into a RICO

conspiracy,    one   half   of   the   Superseding   Indictment    (criminalizing   job

recommendations made to ComEd and AT&T) with the other half (alleging

misconduct involving Madigan’s law firm). But the alleged facts, purposes, and major

players at issue in the two halves of the Superseding Indictment are wholly distinct.




                                           4
  Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 16 of 73 PageID #:1879




A RICO enterprise requires a common purpose. On the face of the Superseding

Indictment, no such common purpose is alleged. Whatever may have been the

government’s reason for cobbling disparate claims together—whether to bolster its

cornerstone ComEd/AT&T allegations, or otherwise—it has failed to allege a proper

RICO conspiracy claim.

       In short, this far-flung Superseding Indictment impermissibly treats job

recommendations as illegal bribery, and stitches together unrelated allegations of

purported misconduct into a single scheme. The mismatch between the conduct

alleged and the statutes invoked is a fatal defect that precludes this prosecution. For

these reasons and others described below, Counts One through Seven, Eleven

through Fourteen, and Twenty-One through Twenty-Three are fatally infirm,

constitutionally and otherwise. Madigan respectfully requests their dismissal either

in full or in part.

                          The Superseding Indictment

       The government filed a twenty-three-count Superseding Indictment that sets

forth two distinct fact patterns as summarized in the table below. First, Counts Two

through Seven and Count Twenty-Three allege that Madigan corruptly solicited jobs

from two utilities, Commonwealth Edison (“ComEd”) and Illinois Bell Telephone

Company (“AT&T”), intending to be influenced and rewarded in connection with his

official duties as Speaker of the Illinois House of Representatives (the “Utility

Allegations”). Dkt. 37, at 23–24, 104–05. Separately, Counts Eight through Twenty-

Two allege that Madigan unlawfully solicited and received business for his private

law firm from “persons and parties having business with the State of Illinois and the


                                          5
     Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 17 of 73 PageID #:1880




City of Chicago, or otherwise subject to the authority and powers vested in MADIGAN

and other public officials acting on MADIGAN’s behalf” (the “Law Firm Allegations”).

Id. at 9. Count One purports to allege a RICO conspiracy covering these two distinct

fact patterns.

          Count               Statute(s)               Utility or Law Firm
                                                           Allegations
             1     18 U.S.C. § 1962(d)                 Utility and Law Firm
             2     18 U.S.C. §§ 371 and 2
             3     18 U.S.C. §§ 666(a)(1)(B) and 2
             4     18 U.S.C. §§ 666(a)(1)(B) and 2
                                                              Utility
             5     18 U.S.C. §§ 1952(a)(3) and 2
             6     18 U.S.C. §§ 666(a)(1)(B) and 2
             7     18 U.S.C. §§ 1952(a)(3) and 2
            8      18 U.S.C. §§ 1343 and 1346
            9      18 U.S.C. §§ 1343 and 1346
            10     18 U.S.C. §§ 1343 and 1346
            11     18 U.S.C. § 666(a)(1)(B)                  Law Firm
            12     18 U.S.C. §§ 1952(a)(3) and 2
            13     18 U.S.C. §§ 1952(a)(3) and 2
            14     18 U.S.C. §§ 1952(a)(3) and 2
            15     18 U.S.C. §§ 1951(a) and 2
            16     18 U.S.C. §§ 1952(a)(3) and 2
                                                             Law Firm
            17     18 U.S.C. §§ 1952(a)(3) and 2
            18     18 U.S.C. §§ 1952(a)(3) and 2
            19     18 U.S.C. §§ 1343 and 1346
            20     18 U.S.C. §§ 1343 and 1346
                                                             Law Firm
            21     18 U.S.C. §§ 666(a)(1)(B) and 2
            22     18 U.S.C. §§ 1952(a)(3) and 2
            23     18 U.S.C. §§ 371 and 2                     Utility

I.       RICO Conspiracy

         In Count One, the government asserts that Madigan led a nearly decade-long

association-in-fact enterprise, the purpose of which was twofold: first, “to cause



                                            6
  Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 18 of 73 PageID #:1881




various businesses to employ [and] contract with . . . MADIGAN’s political allies,”

and second, to solicit business for Madigan’s private law firm from “persons and

parties having business with the State of Illinois and the City of Chicago, or otherwise

subject to the authority and powers vested in MADIGAN and other public officials

acting on MADIGAN’s behalf.” Dkt. 37, at 8–9. Count One is predicated on a pattern

of racketeering activity consisting of Hobbs Act extortion, 18 U.S.C. § 1951;

violation(s) of the Travel Act, 18 U.S.C. § 1952; bribery, 720 ILCS § 5/33-1(d)–(e);

official misconduct, 720 ILCS § 5/33-3(a)(4); and legislative misconduct, 720 ILCS §

645/1 (effective until Dec. 31, 2012) and 720 ILCS § 5/33-8 (effective Jan. 1, 2013). Id.

at 11–12. In Count One, as explained further below, the government melds together

two distinct enterprise conspiracies motivated by separate goals and carried out by

different actors.

II.   Solicitation of Jobs from Utilities

      Counts Two through Seven and Count Twenty-Three center on the assertion

that Madigan corruptly solicited jobs for his political allies from ComEd and AT&T.

      A.     ComEd

      Counts Two through Seven charge Madigan with conspiracy, federal program

bribery, and violations of the Travel Act, all premised on the assertion that ComEd

sought to influence Madigan by arranging for individuals associated with him to

obtain jobs and contracts with ComEd. Dkt. 37 at 24–25. In particular, Counts Three,

Four, and Six assert respectively that Madigan corruptly solicited a position on the

ComEd board of directors for Individual BM-1, id. at 64, payments of $5,000 a month

under a ComEd contract for Individual 23W-1, id. at 65, and a ComEd contract for


                                           7
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 19 of 73 PageID #:1882




Jay D. Doherty & Associates for the benefit of Individuals 13W-1, 13W-2, and 23W-

1, id. at 67, all in violation of the federal program bribery statute. Counts Five and

Seven charge violations of the Travel Act based on the same allegations, asserting

underlying violations of the Illinois bribery and legislative misconduct statutes. Id.

at 66, 68.

       Count Two alleges a conspiracy to influence and reward Madigan with these

and other purported benefits from ComEd, and to “assist ComEd with respect to the

passage of legislation favorable to ComEd and its business and the defeat of

legislation unfavorable to ComEd and its business.” Id. at 24–25. Count Two

identifies four pieces of legislation: (1) EIMA (passed in 2011), for which he voted and

voted to override the Governor’s veto, id. at 31; (2) Senate Bill 9 (passed in 2013), for

which he voted and overrode the Governor’s veto, id.; (3) the Future Energy Jobs Act

(“FEJA,” passed in 2016), for which he did not cast a vote, id. at 50; and (4) House

Bill 5626 (introduced in 2018 but never enacted), which he allegedly “gave [Michael]

McClain permission to work to kill” on behalf of ComEd, id. at 57. Beyond identifying

the foregoing bills and Madigan’s position on them, the Superseding Indictment

alleges no facts establishing an agreement by Madigan to take official action in

exchange for the benefits he allegedly received.

       B.    AT&T

       Akin to the ComEd-related counts, Count Twenty-Three alleges that Madigan

conspired with McClain and a former AT&T employee to arrange for a former member

of the Illinois House of Representatives, Individual FR-1, to receive payments made

at the direction of AT&T for the purpose of influencing and rewarding Madigan in


                                           8
  Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 20 of 73 PageID #:1883




connection with his official duties as Speaker, and to assist AT&T with respect to the

passage of legislation concerning the utility’s carrier of last resort (“COLR”)

obligation. Dkt. 37 at 105–06. Count Twenty-Three alleges that the Speaker’s office

requested a “complete roll call” on Senate Bill 1839 (which included COLR

legislation) and that Madigan voted in favor of that bill and other COLR-related

legislation. Id. at 111. As with ComEd, the Superseding Indictment does not allege

facts establishing a causal connection between the legislative actions undertaken by

Madigan and the benefits he allegedly received from AT&T.

III.   Solicitation of Business for Madigan’s Law Firm

       Wholly distinct from the ComEd and AT&T factual episodes, Counts Eight

through Twenty-Two allege that Madigan unlawfully sought and agreed to accept

business for his private law firm from “persons and parties having business with the

State of Illinois and the City of Chicago, or otherwise subject to the authority and

powers vested in MADIGAN and other public officials acting on MADIGAN’s behalf.”

Dkt. 37 at 9. These fifteen counts relate to three real estate developments in Chicago

involving Company A, Company C, and a parking lot in Chinatown.

       A.    Company A

       Counts Eight through Fourteen allege that Madigan agreed to accept business

from Company A that allegedly was steered to his private law firm by Alderman A,

who was acting at the government’s direction in the hope of receiving cooperation

credit for his unrelated crimes, in exchange for recommending Alderman A to the

Governor of Illinois for appointment to a compensated state board position. Dkt. 37

at 70–71. Based on this allegation, Counts Eight, Nine, and Ten charge honest


                                          9
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 21 of 73 PageID #:1884




services fraud, id. at 75–77; Count Eleven federal program bribery, id. at 78; and

Counts Twelve, Thirteen, and Fourteen violations of the Travel Act, id. at 79–81.

       B.     Company C

       Counts Fifteen through Eighteen allege that Alderman A set up a meeting for

Madigan to pitch his law firm’s services to Company C, which was seeking to

construct an apartment building in Chicago. Dkt. 37 at 82–84. These counts allege

that Madigan used the government cooperator Alderman A to extort Company C. Id.

at 84–85. Although Alderman A’s statements to Company C were directed by the

government (not Madigan, who simply asked for an introduction) and not even known

to Madigan, Count Fifteen charges Madigan with attempted extortion, id.; and

Counts Sixteen, Seventeen, and Eighteen violations of the Travel Act, id. at 86–88.

       C.     Chinatown Parking Lot

       Counts Nineteen through Twenty-Two allege that a group of individuals

sought to have the State of Illinois transfer ownership of a parking lot in Chinatown

to the City of Chicago so that they could in turn acquire the lot from the City. Dkt. 37

at 89. These counts allege that Madigan “agreed to use his position as Speaker of the

House to assist with and cause the passage of legislation providing for the transfer of

the Chinatown parcel with the understanding that, in exchange, legal work would be

steered to his private law firm.” Id. at 90–91. Based on these allegations, Counts

Nineteen and Twenty charge honest services fraud, id. at 98–100; Count Twenty-One

federal program bribery, id. at 101; and Count Twenty-Two a violation of the Travel

Act, id. at 102.




                                          10
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 22 of 73 PageID #:1885




                                    Legal Standard

       To be legally sufficient, an indictment must: (1) state all the elements of the

crime charged; (2) adequately inform the defendant of the nature of the charges so

that he may prepare a defense; and (3) allow the defendant to plead the judgment as

a bar to any future prosecutions. United States v. White, 610 F.3d 956, 958 (7th Cir.

2010). “It is generally sufficient that an indictment set forth the offense in the words

of the statute itself, as long as those words of themselves fully, directly, and expressly,

without any uncertainty or ambiguity, set forth all the elements necessary to

constitute the offence intended to be punished.” Hamling v. United States, 418 U.S.

87, 117 (1974) (quotation marks omitted). But where the statute fails to set forth all

the elements necessary to constitute the offense, indictments “must do more than

restate the language of the statute.” United States v. Resendiz–Ponce, 549 U.S. 102,

109–10 (2007). In that case, “when one element of the offense is implicit in the statute,

rather than explicit, and the indictment tracks the language of the statute and fails

to allege the implicit element explicitly, the indictment fails to allege an offense.”

United States v. Donagher, 520 F. Supp. 3d 1034, 1041 (N.D. Ill. 2021) (quoting United

States v. Pirro, 212 F.3d 86, 93 (2d Cir. 2000)). This is because absent the implicit

element, the indictment would fail “to provide fair notice to [the] defendant[] and []

ensure that any conviction [] arise[s] out of the theory of guilt presented to the grand

jury.” Resendiz–Ponce, 549 U.S. at 109–10.

       Although a court’s review of the facts at this stage is limited, the court “need

not blindly accept a recitation in general terms of the elements of the offense.” United

States v. Huet, 665 F.3d 588, 595 (3d Cir. 2012), abrogated on other grounds by Rehaif


                                            11
     Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 23 of 73 PageID #:1886




v. United States, 139 S. Ct. 2191 (2019). Even if an indictment recites necessary

elements in boilerplate wording, “‘if the specific facts’ that are alleged ‘fall beyond the

scope of the relevant criminal statute, as a matter of statutory interpretation,’ the

indictment fails to state an offense.” Id. (quoting United States v. Panarella, 277 F.3d

678, 685 (3d Cir. 2002), abrogated on other grounds by Skilling v. United States, 561

U.S. 358 (2010)); cf. United States v. Gimbel, 830 F.2d 621, 624 (7th Cir. 1987) (“In

order to be valid, an indictment must allege that the defendant performed acts which,

if proven, constituted a violation of the law that he or she is charged with violating.”).

                                       Argument

I.       The RICO Conspiracy Charge (Count One) Must Be Dismissed.

         RICO makes it “unlawful for any person employed by or associated with any

enterprise engaged in, or the activities of which affect, interstate or foreign commerce,

to conduct or participate, directly or indirectly, in the conduct of such enterprise’s

affairs through a pattern of racketeering activity.” 18 U.S.C. § 1962(c). And it is

unlawful for any person to conspire to do the same. 18 U.S.C. § 1962(d). To sustain a

RICO conspiracy charge, “the government must show (1) an agreement to conduct or

participate in the affairs (2) of an enterprise (3) through a pattern of racketeering

activity.” United States v. Brown, 973 F.3d 667, 682 (7th Cir. 2020) (quoting United

States v. Olson, 450 F.3d 655, 664 (7th Cir. 2006)), cert. denied, 141 S. Ct. 1253 (2021).

The Superseding Indictment fails on all fronts: first and foremost, it does not

adequately plead a RICO enterprise; second, it does not plead an agreement to

conduct or participate in the enterprise’s affairs; and, third, it charges racketeering

activity predicated in part on unconstitutional state statutes.


                                            12
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 24 of 73 PageID #:1887




       While “Congress’ mandate [is] to ‘liberally’ construe the [RICO Act] in light of

its broad remedial purposes,” Menzies v. Seyfarth Shaw LLP, 197 F. Supp. 3d 1076,

1097 (N.D. Ill. 2016) (Blakey, J.) (quoting Pub. L. No. 91-452, § 904(a), 84 Stat. 922,

947; Sedima, S.P.R.L. v. Imrex Co., 473 U.S. 479, 497–98 (1985)), “RICO is not

violated every time two or more individuals commit one of the predicate crimes listed

in the statute,” United Food & Commercial Workers Unions and Employers Midwest

Health Benefits Fund v. Walgreen Co., 719 F.3d 849, 851 (7th Cir. 2013). Indeed, as

reflected below, federal courts have dismissed civil RICO actions that fail to allege an

agreement to conduct or participate in the affairs of an enterprise. And when one’s

liberty is at stake, courts should hue to “the Supreme Court’s admonition to read the

statute’s provisions the same way in both a criminal or civil context.” Menzies, 197 F.

Supp. 3d at 1097 (citing Shearson/American Express, Inc. v. McMahon, 482 U.S. 220,

239 (1987); Sedima, 473 U.S. at 489) (discussing pleading of “pattern” in a civil RICO

action).

       A.    Count One Does Not Allege a RICO Enterprise.

       Count One of the Superseding Indictment must be dismissed because it fails

to allege a RICO enterprise. The RICO Act defines “enterprise” to include “any union

or group of individuals associated in fact although not a legal entity.” 18 U.S.C. §

1961(4). “An association-in-fact includes any ‘group of persons associated together for

a common purpose of engaging in a course of conduct.’” Brown, 973 F.3d at 682

(quoting Boyle v. United States, 556 U.S. 938, 946 (2009)). The Supreme Court has

held that “an association-in-fact enterprise must have at least three structural

features: a purpose, relationships among those associated with the enterprise, and


                                          13
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 25 of 73 PageID #:1888




longevity sufficient to permit these associates to pursue the enterprise’s purpose.”

Boyle, 556 U.S. at 946. “The existence of a common goal or purpose is an ‘essential

ingredient’ of an association-in-fact enterprise.” Guaranteed Rate, Inc. v. Barr, 912 F.

Supp. 2d 671, 687 (N.D. Ill. 2012) (Kendall, J.) (quoting Baker v. IBP, Inc., 357 F.3d

685, 691 (7th Cir. 2004)). Count One fails to allege a common purpose uniting the

so-called “Madigan Enterprise.”

      The case of Rao v. BP Products North America, Inc., 589 F.3d 389 (7th Cir.

2009), is instructive. In Rao, the Seventh Circuit affirmed dismissal of civil RICO

claims brought under 18 U.S.C. § 1962(a), (c), and (d), in part because the complaint

failed to show a “group of persons associated together for a common purpose of

engaging in a course of conduct.” Id. at 400 (emphasis added) (quoting Boyle, 556 U.S.

at 944). The plaintiff in Rao alleged RICO violations against BP, a regional sales

manager, an area representative and her husband, and other unnamed employees.

Id. at 393–95. The plaintiff alleged: (1) the regional sales manager, as well as the area

representative and her husband, “forced [the plaintiff] to sell his share of a [gas]

station to [the area representative] at a false price, under the threat that he would

lose his other franchises if he did not”; (2) “after [the plaintiff] spoke with the FBI,

unnamed ‘[BP] employees’ told [the plaintiff] his franchises would be terminated if

he sought help”; and (3) “BP allowed [the regional sales manager] to force [the

plaintiff] into purchasing two parcels of its land . . . under the threat of increased

costs and the loss of his business if he refused.” Id. at 400. In affirming dismissal of

the plaintiff’s complaint for failure to allege a RICO enterprise, the Seventh Circuit




                                           14
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 26 of 73 PageID #:1889




reasoned that the plaintiff’s allegations “contain different actors for each event,” “do

not indicate how the different actors are associated,” and “do not suggest a group of

persons acting together for a common purpose or course of conduct.” Id.

      To be sure, Count One muddies the water by asserting an assortment of

purposes for which the purported “Madigan Enterprise” acted, namely:

              (i) to exercise, to preserve, and to enhance MADIGAN’s
              political power and financial well-being; (ii) to financially
              reward MADIGAN’s political allies, political workers, and
              associates for their loyalty, association with, and work for
              MADIGAN; and (iii) to generate income for members and
              associates of the enterprise through illegal activities.

Dkt. 37 at 7. A thorough read of Count One, however—and the indictment as a

whole—reveals two distinct enterprise conspiracies motivated by separate goals and

carried out by different actors. This bifurcation is best articulated in Count One itself,

which states:

              Among other things, MADIGAN utilized his official
              positions as a Representative and Speaker: (i) to cause
              various businesses to employ, contract with, and make
              direct and indirect monetary payments to MADIGAN’s
              political allies, political workers, and associates as a
              reward for and to promote their loyalty, association with,
              and work for MADIGAN, at times in return for little or no
              legitimate work performed for the benefit of the businesses;
              and (ii) to solicit and receive from persons and parties
              having business with the State of Illinois and the City of
              Chicago, or otherwise subject to the authority and powers
              vested in MADIGAN and other public officials acting on
              MADIGAN’s behalf, including Alderman A, bribes and
              unlawful personal financial advantage, including but not
              limited to fees arising from the retention of his law firm,
              Madigan & Getzendanner. . . .

Id. at 8–9.




                                           15
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 27 of 73 PageID #:1890




       The   first   conspiracy   allegations,   ostensibly   encompassing     Madigan’s

interactions with ComEd and AT&T, assert a scheme to benefit Madigan’s political

power by directing benefits to his alleged political allies to “promote their loyalty.” Id.

at 8. Absent from this conspiracy is any assertion that the alleged enterprise sought

to obtain “personal financial advantage” for Madigan. The second conspiracy

allegations contend that Madigan, in his capacity as a partner at a private law firm,

sought to “reap the benefits of private legal work unlawfully steered to his law firm.”

Id. at 9. The Superseding Indictment fails to allege that the participants of the

purported Madigan Enterprise associated together for the “common purpose” of

effectuating both schemes.

       For example, the Superseding Indictment is devoid of any allegations that

Madigan’s private law firm shared a common purpose to enhance Madigan’s political

power or reward Madigan’s political allies. Rather, the Law Firm Allegations contend

that Madigan sought to obtain “personal financial advantage” through fees arising

from the retention of the law firm. Id. at 12 (emphasis added). The law firm is not

mentioned once in the sixty-five pages charging conduct related to ComEd (Counts

Two through Seven) and AT&T (Count Twenty-Three). Id. at 15–68, 103–113.

Neither is Alderman A, who plays a central role in every one of the Law Firm

Allegations set forth in Counts Eight through Twenty-Two. He does not surface once

in the Utility Allegations because he is entirely irrelevant to them.

       Likewise, the Thirteenth Ward Democratic Organization is conspicuously

absent from the thirty-four pages of the Superseding Indictment that outline the Law




                                            16
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 28 of 73 PageID #:1891




Firm Allegations. Id. at 69–102. Rather, Count One makes clear that the purpose of

the Thirteenth Ward Democratic Organization was political:

            The purpose of the Thirteenth Ward Democratic
            Organization was to, among other things, cultivate support
            for political candidates and public officials who ran for and
            held public office through a variety of means, which
            included door-to-door campaigning by political workers,
            including those known as “precinct captains,” who were
            associated with the Thirteenth Ward Democratic
            Organization.

            ....

            . . . MADIGAN utilized his positions as Democratic
            Committeeman for the Thirteenth Ward and Chairman of
            the Thirteenth Ward Democratic Organization to direct the
            activities of his political allies and political workers within
            the Thirteenth Ward, and to maintain his political power
            for purposes of ensuring his continued retention of his
            positions as a member of the Illinois House of
            Representatives and Speaker. . . .

Id. at 4, 9. The Superseding Indictment lacks any assertion that the Thirteenth Ward

Democratic Organization shared a common purpose to obtain personal financial

advantage for Madigan.

      Like the complaint in Rao, Count One of the Superseding Indictment fails to

show “a group of persons acting together for a common purpose or course of

conduct.” Rao, 589 F.3d at 400 (emphasis added). Indeed, Count One reveals the

government’s attempt to shoehorn two distinct fact patterns—involving ComEd and

AT&T on the one hand and Madigan’s private law firm on the other—into a single

RICO conspiracy charge. Moreover, these disparate fact patterns frequently “contain

different actors for each event” and “do not indicate how the different actors are




                                          17
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 29 of 73 PageID #:1892




associated.” Id. Accordingly, Count One fails to allege an association-in-fact RICO

enterprise and, therefore, must be dismissed.

      B.     Count One Does Not Allege That Madigan and McClain Agreed
             to Conduct or Participate in the Affairs of an Enterprise.

      Even if this Court finds that Count One sufficiently alleges the existence of an

association-in-fact enterprise under Boyle, Count One should still be dismissed

because it fails to allege that each member of the purported enterprise agreed to

conduct or participate in the “enterprise’s affairs,” as opposed to their “own affairs.”

Crichton v. Golden Rule Ins. Co., 576 F.3d 392, 398 (7th Cir. 2009) (quoting Reves v.

Ernst & Young, 507 U.S. 170, 185 (1993)). In other words, Count One fails to allege

“a truly joint enterprise where each individual entity act[ed] in concert with the

others to pursue a common interest”; instead, it reveals that “each entity act[ed] in

its individual capacity to pursue its individual self-interest.” Bible v. United Student

Aid Funds, Inc., 799 F.3d 633, 655–56 (7th Cir. 2015) (citing United Food, 719 F.3d

at 855; Crichton, 576 F.3d at 400). And because “the touchstone of liability under §

1962(d) is an agreement to participate in an endeavor which, if completed, would

constitute a violation of the substantive statute,” United Food, 719 F.3d at 856

(quoting Goren v. New Vision Int’l, Inc., 156 F.3d 721, 732 (7th Cir. 1998)), “[h]aving

failed to [allege] facts that would establish a violation of Section 1962(c), the

[government] cannot [bring an indictment] for conspiracy under Section 1962(d)

based on those same facts,” id. at 856–57.

      In United Food, for example, an employee benefit plan brought a RICO action

against Walgreens and Par Pharmaceutical, Inc., contending that the two formed an



                                          18
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 30 of 73 PageID #:1893




enterprise to defraud the plan by filling prescriptions of Par’s drugs with a dosage

form that was more expensive than the form prescribed to the customer. 719 F.3d at

850. The plaintiff alleged extensive evidence of cooperation between Walgreens and

Par. Among other things, the complaint asserted that “Par proposed the drug-

switching program and Walgreens agreed to implement it”; Walgreens’s director of

pharmacy marketing conveyed false information to Walgreens’s pharmacists about

Par’s dosage forms; and, after Walgreens stopped switching dosage forms following

scrutiny from the Justice Department, the two companies negotiated price reductions

to offset Walgreens’s revenue losses. Id. at 852, 854.

      Despite these and other allegations of association, the Seventh Circuit found

the complaint “fail[ed] to allege that Walgreens and Par ‘conduct[ed]’ the affairs of an

‘enterprise.’” Id. at 853 (quoting 18 U.S.C. § 1962(c)). The Seventh Circuit reasoned:

             [N]othing in the complaint reveals how one might infer
             that these communications or actions were undertaken on
             behalf of the enterprise as opposed to on behalf of
             Walgreens and Par in their individual capacities, to
             advance their individual self-interests. The complaint does
             not allege, for instance, that officials from either company
             involved themselves in the affairs of the other. . . . Nor does
             the complaint anywhere suggest that profits from the
             illegal drug-switching scheme were siphoned off to the []
             enterprise or to individual enterprise members. . . .

             To be sure, Walgreens and Par were not strangers.
             Representatives      from    the    companies     regularly
             communicated with one another, and Walgreens purchased
             its generic [drugs] from Par. This type of interaction,
             however, shows only that the defendants had a commercial
             relationship, not that they had joined together to create a
             distinct entity for purposes of improperly filling [drug]
             prescriptions. . . .




                                           19
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 31 of 73 PageID #:1894




Id. at 854–55. Moreover, the Seventh Circuit observed, “the fact that Walgreens’s and

Par’s activities were by all appearances illegal [does not] indicate that the companies

were acting on behalf of a distinct enterprise.” Id. at 855. The Seventh Circuit further

held that the plaintiff’s “failure adequately to allege that Walgreens and Par

conducted the affairs of an enterprise is also fatal to its RICO conspiracy claim.” Id.

at 856. The court reasoned that “[j]ust as the complaint fails to allege that Walgreens

and Par acted on behalf of the [] enterprise, it equally fails to allege that Walgreens

and Par agreed to act on behalf of the enterprise.” Id.

      Count One likewise fails to allege that Madigan and McClain acted, or agreed

to act, “in concert . . . to pursue a common interest” rather than “in [their] individual

capacit[ies] to pursue [their] individual self-interest.” Bible, 799 F.3d at 655–56. As

an initial matter, Count One does not assert that McClain stood to profit from

participating in any of the affairs of the alleged enterprise. See Bobb v. Swartz–Retson

P.C., 2018 WL 4384292, at *7 (N.D. Ill. Sept. 14, 2018) (no RICO enterprise where

defendants made their own respective profits and did not share in the profits of the

alleged enterprise); Guaranteed Rate, 912 F. Supp. 2d at 687 (same); Oberoi v. Mehta,

2011 WL 1337107, at *4 (N.D. Ill. Apr. 6, 2011) (same). This is unsurprising, as

Count One makes clear that “McClain served as a lobbyist and/or consultant . . . for

[ComEd].” Dkt. 37 at 10. Count One reveals that McClain interacted with Madigan

to further the interests of his client, ComEd, and to build his credentials as a

Springfield lobbyist.




                                           20
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 32 of 73 PageID #:1895




      The government acknowledged as much when it indicted McClain along with

other former ComEd employees and consultants in November 2020. In that case, the

government charged McClain and his co-defendants with conspiring to:

             arrange[] for various associates of [Madigan], including
             [Madigan’s] political allies and individuals who performed
             political work for [Madigan], to obtain jobs, contracts, and
             monetary payments associated with those jobs and
             contracts from ComEd and its affiliates, even in instances
             where such associates performed little or no work that they
             were purportedly hired to perform for ComEd. . . .

Indictment at 12–13, United States v. McClain, Case No. 20-CR-812 (N.D. Ill. Nov. 18,

2020), ECF No. 1. Critically, the McClain indictment alleges that this conspiracy was

undertaken “for the purpose of influencing and rewarding [Madigan] in connection

with his official duties as Speaker of the Illinois House of Representatives, and to

assist ComEd with respect to the passage of legislation favorable to ComEd

and its business and the defeat of legislation unfavorable to ComEd and its

business.” Id. at 12 (emphasis added). As suggested by the separately-filed McClain

indictment, McClain associated with Madigan on issues related to ComEd to advance

ComEd’s legislative interests, not to benefit the so-called “Madigan Enterprise.”

United States v. McClain, 20-CR-812, Dkt. 1 (N.D. Ill. 2020).

      With respect to Madigan and McClain’s association on matters unrelated to

ComEd, Count One also fails to allege that their “communications or actions were

undertaken on behalf of the enterprise as opposed to on behalf of [Madigan] and

[McClain] in their individual capacities, to advance their individual self-interests.”

United Food, 719 F.3d at 854. To be sure, Madigan and McClain “were not strangers,”

and they “regularly communicated with one another.” Id. at 855. But their


                                         21
  Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 33 of 73 PageID #:1896




interactions demonstrate a relationship between a lobbyist and public official, not an

effort to join together to create a distinct entity for the purpose of improperly

advancing Madigan’s personal interests. Id. Therefore, Count One fails to “plausibly

alleg[e] the type of concerted activity undertaken on behalf of an identifiable

enterprise necessary to a successful RICO claim.” Id. at 850–51.

        C.      Count One Charges Racketeering Activity Predicated on
                Unconstitutional State Statutes.1

        Count One is predicated, in part, on an alleged pattern of racketeering

consisting of “multiple acts and threats involving bribery chargeable under the law

of the State of Illinois,” including 720 ILCS § 5/33-1(d)–(e) (bribery) and 720 ILCS

§ 5/33-3(a)(4) (official misconduct).2 Dkt. 37 at 11–12. The Illinois bribery statute

provides that a person commits bribery when:

                (d) He or she receives, retains or agrees to accept any
                property or personal advantage which he or she is not
                authorized by law to accept knowing that the property or
                personal advantage was promised or tendered with intent
                to cause him or her to influence the performance of any act



1 Defendants maintain that Illinois Statutes 720 ILCS § 5.33-1(d)-(e) (bribery) and 720 ILCS § 5/33-

3(a)(4) (official misconduct), by a plain reading of their text, require, in addition to other elements,
that the government prove beyond a reasonable doubt that a specific official act was the object of the
alleged knowing agreement to solicit or accept a thing of value. However, should the government take
a contrary position, the statutes would be rendered unconstitutional for the reasons set forth in this
Memorandum.
2 As a predicate for racketeering activity, Count One also cites the Illinois statute concerning

legislative misconduct, 720 ILCS § 645/1 (effective until Dec. 31, 2012) and 720 ILCS § 5/33-8 (effective
Jan. 1, 2013). Superseding Indictment, at 12. That statute is not included in this motion because, in
contrast to the vast “any act” requirement in the bribery and official misconduct statutes, it requires
a more circumscribed “official act.” 720 ILCS § 5/33-8 (forbidding Illinois General Assembly members
from receiving any valuable thing for “any vote or influence he or she may give or withhold on any bill,
resolution or appropriation, or for any other official act”). While even this “official act” requirement
should ultimately be subject to a limiting instruction defining the term in accordance with the
Supreme Court’s analysis in McDonnell v. United States, 579 U.S. 550 (2016), that issue need not be
resolved here.



                                                  22
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 34 of 73 PageID #:1897




             related to the employment or function of any public
             officer, public employee, juror or witness; or

             (e) He or she solicits, receives, retains, or agrees to accept
             any property or personal advantage pursuant to an
             understanding that he or she shall improperly influence or
             attempt to influence the performance of any act related
             to the employment or function of any public officer,
             public employee, juror or witness.

720 ILCS § 5/33-1(d)–(e) (emphasis added). The Illinois official misconduct statute

provides:

             A public officer . . . commits misconduct when, in his official
             capacity . . . [he] [s]olicits or knowingly accepts for the
             performance of any act a fee or reward which he knows is
             not authorized by law.

720 ILCS § 5/33-3(a)(4) (emphasis added).

      As explained below, the sweeping “any act” language found in the Illinois

bribery and official misconduct statutes renders both unconstitutional in two

respects. First, the statutes are overbroad in violation of the First and Fourteenth

Amendments. Second, the statutes are void for vagueness under the Fifth and

Fourteenth Amendments, both facially and as applied in Count One. Pursuant to

Federal Rule of Criminal Procedure 12(b)(3)(B)(v), Count One must be dismissed

insofar as it is predicated on these unconstitutional Illinois statutes. Furthermore,

pursuant to Federal Rule of Criminal Procedure 7(d), references to the Illinois bribery

and official misconduct statutes should be stricken from the Superseding Indictment.




                                           23
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 35 of 73 PageID #:1898




             1.     The Illinois Bribery and Official Misconduct Statutes Are
                    Facially Overbroad in Violation of the First and
                    Fourteenth Amendments.

      Public officials routinely work with lobbyists and entertain outreaches from

their constituents. This conduct is central not only to the conduct of office but also to

American democracy. Citizens have a First Amendment right to petition elected

representatives, and our democratic system envisions that politicians will be

responsive to their concerns. Statutes that impermissibly chill such interactions

infringe on rights that go to the core of democratic government and violate the First

Amendment. Here, the Court must scrutinize the Illinois bribery and official

misconduct statutes to ensure that they do not trench on this protected sphere of

activity, and strike down prohibitions that are unconstitutionally overbroad.

      Statutes infringing First Amendment rights “suffer from overbreadth and

necessitate facial invalidation if their unconstitutional applications against otherwise

protected expression outnumber their legitimate ones.” Bell v. Keating, 697 F.3d 445,

453 (7th Cir. 2012); see also United States v. Stevens, 559 U.S. 460, 473 (2010)

(quoting Wash. St. Grange v. Wash. St. Republican Party, 552 U.S. 442, 449 n.6

(2008)) (statute facially invalid as overbroad if “a substantial number of its

applications are unconstitutional, judged in relation to the statute’s plainly

legitimate sweep”). “Where a sufficient imbalance exists, the statute proves facially

invalid, not because it lacks any conceivable constitutional application, but because

the ‘threat of [its] enforcement . . . deters people from engaging in constitutionally

protected speech, inhibiting the free exchange of ideas.’” Bell, 697 F.3d at 453 (quoting




                                           24
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 36 of 73 PageID #:1899




United States v. Williams, 553 U.S. 285, 292 (2008)). “Technically overbroad statutes,

in short, must fail because they unconstitutionally chill protected expression.” Id.

      To determine whether a statute is overbroad, courts perform a two-step

analysis. First, the court must “construe the challenged statute.” Williams, 553 U.S.

at 293. Second, the court must determine whether the statute, as so construed,

“criminalizes a substantial amount of protected expressive activity.” Id. at 297.

Criminal statutes must be “scrutinized with particular care” because “those that

make unlawful a substantial amount of constitutionally protected conduct may be

held facially invalid even if they also have legitimate application.” City of Houston,

Tex. v. Hill, 482 U.S. 451, 459 (1987). In considering a defendant’s challenge to the

facial validity of a statute under the First Amendment, the Court should “not

hesitate[] to take into account possible applications of the statute in other factual

contexts beside[] [those] at bar.” NAACP v. Button, 371 U.S. 415, 432 (1963); see also

Forsyth County, Ga. v. Nationalist Movement, 505 U.S. 123, 129 (1992) (“It is well

established that in the area of freedom of expression an overbroad regulation may be

subject to facial review and invalidation, even though its application in the case under

consideration may be constitutionally unobjectionable.”).

                    a.     Illinois Bribery Statute

      The Illinois bribery statute sweeps much more broadly than the Constitution

permits because of its wide and undifferentiated coverage of “any act related to the

employment or function of any public officer.” 720 ILCS § 5/33-1(d)–(e). This statutory

text covers conduct that lies within the protection of the First Amendment. That such

all-encompassing coverage chills protected activity is shown most clearly by the


                                          25
  Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 37 of 73 PageID #:1900




comparison of Illinois law to the federal statute, 18 U.S.C. § 201(a)(3), at issue in

McDonnell v. United States, 579 U.S. 550 (2016).

       In McDonnell, the Supreme Court considered the federal analog of the Illinois

bribery statute, which requires an “official act,” defined as “any decision or action on

any question, matter, cause, suit, proceeding or controversy, which may at any time

be pending, or which may by law be brought before any public official, in such official’s

official capacity, or in such official’s place of trust or profit.” 18 U.S.C. § 201(a)(3). The

Court in McDonnell narrowed the federal statute substantially, in large measure to

avoid constitutional concerns that would arise from an expansive and unbounded

interpretation of “official act” encompassing virtually any act an official might

perform. Because the statutory narrowing approach in McDonnell is not available

here for Illinois laws, those same constitutional concerns require a holding that the

Illinois bribery statute is unconstitutionally overbroad.

       At issue in McDonnell were jury instructions on the meaning of an “official

act.” The trial court first charged the jury on the statutory definition, and then—as

the government had requested—advised the jury that the term encompassed “‘acts

that a public official customarily performs,’ including acts ‘in furtherance of longer-

term goals’ or ‘in a series of steps to exercise influence or achieve an end.’” McDonnell,

579 U.S. at 564–65. The jury found the defendant, the former Governor of Virginia,

Robert McDonnell, guilty of honest services fraud and Hobbs Act extortion. Id. at 565.

He appealed, challenging the definition of “official act” provided to the jury. Id. at

566.




                                             26
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 38 of 73 PageID #:1901




      The Supreme Court reversed the conviction, citing the need for “a more

bounded interpretation of ‘official act.’” Id. at 567. The Court began by curtailing the

subject matter upon which an “official act” may be taken to require “a formal exercise

of governmental power” that is “specific and focused.” Id. at 574. The Court then held

that the conduct requisite for an “official act” must be a “decision” or “action” on a

“question, matter, cause, suit, proceeding or controversy” (a definition not met by

“[s]etting up a meeting, talking to another official, or organizing an event”). Id.

Finally, the Court interpreted the phrase “which may at any time be pending, or

which may by law be brought” to “suggest something that is relatively

circumscribed—the kind of thing that can be put on an agenda, tracked for progress,

and then checked off as complete.” Id. at 570.

      The Illinois bribery statute lacks such narrowing features, and thereby

encompasses a multitude of ordinary interactions between politicians and their

constituents   that   are   constitutionally   protected.   Such   overbreadth    poses

constitutional concerns akin to those that troubled the Supreme Court in McDonnell.

      First, the Court narrowed what qualifies as an “official act” because public

officials routinely engage with their constituents, some of whom may have matters

pending before them. In restricting what qualifies as a “decision” or “action,” the

Supreme Court recalled its analysis in United States v. Sun–Diamond Growers of

Cal., 526 U.S. 398 (1999). See McDonnell, 579 U.S. at 571–72. In Sun–Diamond, the

Court stated that it was not an “official act” under the statute for the President to

host a championship sports team at the White House, the Secretary of Education to




                                          27
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 39 of 73 PageID #:1902




visit a high school, or the Secretary of Agriculture to deliver a speech to farmers on

matters of USDA policy. Id. at 571 (citing Sun–Diamond, 526 U.S. at 407). That is

because “the Secretary of Agriculture always has before him or in prospect matters

that affect farmers, just as the President always has before him or in prospect matters

that affect college and professional sports, and the Secretary of Education matters

that affect high schools.” Id. (quoting Sun–Diamond, 526 U.S. at 407). The Court

explained that “the existence of such pending matters was not enough to find that

any action related to them constituted an ‘official act.’” Id. (emphasis added)

(quoting Sun–Diamond, 526 U.S. at 407).

      Second, the McDonnell Court voiced “significant constitutional concerns” with

the government’s expansive interpretation of “official act,” where “nearly anything a

public official accepts—from a campaign contribution to lunch—counts as a quid; and

nearly anything a public official does—from arranging a meeting to inviting a guest

to an event—counts as a quo.” Id. at 574–75. The Court warned that the government’s

position “could cast a pall of potential prosecution” over relationships between public

officials and their constituents, when the “basic compact underlying representative

government assumes that public officials will hear from their constituents and act

appropriately on their concerns.” Id. at 575.

      McDonnell underscored the substantiality of this concern by noting that

“White House counsel who worked in every administration from that of President

Reagan to President Obama warn[ed] that the [g]overnment’s ‘breathtaking

expansion of public-corruption law would likely chill federal officials’ interactions




                                          28
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 40 of 73 PageID #:1903




with the people they serve and thus damage their ability effectively to perform their

duties.’” Id. (quoting Brief for Former Federal Officials as Amici Curiae 6). The Court

also noted that seventy-seven former state attorneys general—including three from

Illinois—filed an amicus brief echoing those concerns. Id. (citing Brief for 77 Former

State Attorneys General (Non-Virginia) as Amici Curiae 1–2). The Court warned that

under the “standardless sweep” of the government’s expansive reading, “public

officials could be subject to prosecution, without fair notice, for the most prosaic

interactions”—which a narrow interpretation of “official act” served to avoid. Id. at

576.

       Most recently, the Supreme Court in Snyder again discussed the overbreadth

concerns presented by a bribery statute, noting the problem when no “remotely clear

lines” separate “innocuous or obviously benign” conduct from that of criminal conduct.

Snyder, 144 S. Ct. at 1958. The Court rejected the notion that “federal prosecutors

can be trusted not to enforce the statute against small-time violators.” Id.

       The Illinois bribery statute, with its unlimited application to any act by a

public official, poses the very constitutional concerns that troubled the Court in

McDonnell and Snyder, and supported its narrowing of the reach of two separate

bribery statutes. The McDonnell Court envisioned that the government’s

interpretation of “official act” could “cast a pall of potential prosecution” over a public

official’s relationship with homeowners seeking answers for why it took five days to

restore power to their neighborhood after a storm if, for example, the homeowners

had previously invited the official to attend a ballgame. McDonnell, 579 U.S. at 575.




                                            29
  Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 41 of 73 PageID #:1904




Applying the Supreme Court’s hypothetical in Illinois, that potential “pall” becomes

a reality: if the public official took (or agreed to take) any action in his official capacity

to obtain answers for his constituents—for example, if a state representative sought

to have the power utility testify before the Illinois General Assembly about why it

took five days to restore power—the public official could be found to have violated the

Illinois bribery statute.

       In short, the Illinois bribery statute is invalid because of its unconstitutional

overbreadth. It reaches precisely the sort of constitutionally protected official-

constituent interactions highlighted in McDonnell and Snyder. But unlike in

McDonnell and Snyder, where those constitutional concerns supported a narrowing

construction, here, Illinois law has no comparable boundary. For that reason, the

statute is facially invalid under the First and Fourteenth Amendments and cannot

properly serve as a predicate act for the RICO allegation in Count One of the

Superseding Indictment.3

                       b.      Illinois Official Misconduct Statute

       The Illinois official misconduct statute similarly lacks the safeguards to avoid




3 Judge Dow rejected the only post-McDonnell challenge to the Illinois bribery statute on First

Amendment overbreadth grounds, reasoning that the statute did not encompass nominal gifts because
“[t]he plain language of the statute imposes a scienter requirement such that the statute only
proscribes the receipt of gifts intended to ‘improperly influence’ specific conduct.” United States v.
Burke, Case No. 19-CR-322, 2022 WL 1970189, at *39 (N.D. Ill. June 6, 2022). But a scienter
requirement cannot save a bribery statute from overbreadth. The federal bribery statute also imposes
a scienter requirement that limits the statute’s reach to “corrupt[]” conduct, but the McDonnell Court
still found it necessary to narrow the definition of “official act” to avoid chilling representative-
constituent relations—even though there was substantial evidence that Governor McDonnell had
accepted things of value in exchange for taking actions favorable to the payor’s business interests.
McDonnell, 579 U.S. at 556–61. Irrespective of a scienter requirement, the government action (the
quo) must be carefully cabined to avoid “significant constitutional concerns.” Id. at 574.



                                                 30
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 42 of 73 PageID #:1905




sweeping more broadly than the Constitution permits. Under the Illinois statute, a

public officer commits official misconduct when “in his official capacity” he “[s]olicits

or knowingly accepts for the performance of any act a fee or reward which he knows

is not authorized by law.” 720 ILCS § 5/33-3(a)(4) (emphasis added). The official

misconduct statute thus relies on the same sweeping “any act” requirement as the

Illinois bribery statute; accordingly, § 5/33-3(a)(4) also threatens to chill

representative-constituent relations. Citizens interact with and give gifts to

government officials in a wide variety of scenarios, any of which could be criminal

under Illinois’s statute absent clarity about the specific act for which an official is

being rewarded. In federal law, the Supreme Court specified the type of link between

reward and act that avoids those constitutional concerns. See Sun–Diamond, 526 U.S.

at 414. But Illinois law lacks any comparable requirement of a link.

       In Sun–Diamond, the Court held that to sustain a federal gratuity charge, the

government “must prove a link between a thing of value conferred upon a public

official and a specific ‘official act’ for or because of which it was given.” 526 U.S. at

414 (emphasis added). Unlike the federal gratuity statute, however, Illinois law

criminalizes “any act,” as opposed to a “specific ‘official act.’” Illinois courts have not

similarly circumscribed the “any act” required to establish a violation of § 5/33-3(a)(4).

As a result, the official misconduct statute, like the Illinois bribery statute, reaches a

substantial quantity of constitutionally protected expressive activity. Accordingly,

the Illinois official misconduct statute is facially invalid under the First and




                                            31
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 43 of 73 PageID #:1906




Fourteenth Amendments.

      In Burke, Judge Dow rejected an overbreadth challenge to the Illinois official

misconduct statute, reasoning that § 5/33 3(a)(4) “only prohibits soliciting a fee or

reward that is ‘not authorized by law.’” 2022 WL 1970189, at *41 (quoting 720 ILCS

§ 5/33-3(a)(4)). Judge Dow analogized this limitation to § 5/33 3(a)(3)’s requirement

that the public official perform an act “in excess of his lawful authority,” which the

Illinois Appellate Court found to have “imposed a limiting principle that ‘renders the

statute inapplicable to constitutionally protected conduct.’” Id. (quoting People v.

Kleffman, 412 N.E.2d 1057, 1060 (Ill. App. Ct. 1980)). But the phrase, “which he

knows is not authorized by law,” does not save § 5/33-3(a)(4) from overbreadth. The

federal gratuity statute includes a similar clause that limits its application to public

officials who, “otherwise than as provided by law for the proper discharge of official

duty,” solicit or accept something of value for or because of an official act. 18 U.S.C. §

201(c)(1)(B). Nevertheless, as noted above, the McDonnell Court substantially

curtailed the definition of “official act”—which applies to both gratuities and bribes—

citing “significant constitutional concerns” with the government’s “expansive

interpretation” of the term. 579 U.S. at 574.

             2.     The Illinois Bribery and Official Misconduct Statutes Are
                    Facially Vague in Violation of the Fifth and Fourteenth
                    Amendments.

      “In our constitutional order, a vague law is no law at all.” United States v.

Davis, 139 S. Ct. 2319, 2323 (2019). The “[v]agueness doctrine rests on concerns about

fair notice and arbitrary enforcement.” Wis. Right to Life, Inc. v. Barland, 751 F.3d

804, 835 (7th Cir. 2014) (quoting United States v. Jones, 689 F.3d 696, 701 (7th Cir.


                                           32
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 44 of 73 PageID #:1907




2012)). “All laws must be clear and precise enough [1] to give a person of ordinary

intelligence fair notice about what is required of him and also [2] to guard against the

arbitrary and discriminatory exercise of enforcement discretion.” Id. (citing FCC v.

Fox Television Stations, Inc., 567 U.S. 239, 253 (2012)). Although the vagueness

doctrine derives from due process concerns, “a statute that is vague may implicate a

[defendant’s] First Amendment rights, fostering those same chilling concerns that

attend an overbreadth challenge.” Bell, 697 F.3d at 455 (citing Hynes v. Mayor and

Council of Borough of Oradell, 425 U.S. 610, 620 (1976)); accord Wis. Right to Life,

751 F.3d at 835. Accordingly, “[i]n those instances when an imprecise law implicates

speech and assembly rights, [a defendant] may also facially challenge a statute as

void for vagueness.” Bell, 697 F.3d at 455. “[R]igorous adherence” to the requirements

of clarity and precision is “necessary to ensure that ambiguity does not chill protected

speech.” Wis. Right to Life, 751 F.3d at 835 (quoting Fox Television, 567 U.S. at 253–

54).

                     a.     Illinois Bribery Statute

       In addition to being overly broad, the Illinois bribery statute is facially void for

vagueness under the Fifth and Fourteenth Amendments. The statute’s shapeless

“any act” requirement fails to define bribery “(1) with sufficient definiteness that

ordinary people can understand what conduct is prohibited and (2) in a manner that

does not encourage arbitrary and discriminatory enforcement.” Bell, 697 F.3d at 461

(quoting Skilling, 561 U.S. at 402–03). As a result, the statute “foster[s] those same

chilling concerns that attend [the] overbreadth challenge” discussed above. Id. at 455.




                                            33
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 45 of 73 PageID #:1908




      As the Supreme Court noted in Sun–Diamond and McDonnell, an unbounded

“official act” requirement—let alone the far broader “any act” language in the Illinois

statute—would criminalize constituents’ token gifts to their public officials in

exchange for, or because of, ceremonial governmental actions like those described

further above. The Sun–Diamond Court warned that when “no particular ‘official act’

need be identified, and the giving of gifts by reason of the recipient’s mere tenure in

office constitutes a violation, nothing but the [g]overnment’s discretion prevents

the foregoing examples [of ceremonial actions] from being prosecuted.”

526 U.S. at 408 (emphasis added). Similarly, the McDonnell Court found that under

the government’s expansive interpretation of the “official act” requirement, the scope

of this criminal prohibition would not be defined “with sufficient definiteness that

ordinary people can understand what conduct is prohibited,” or “in a manner that

does not encourage arbitrary and discriminatory enforcement.” 579 U.S. at 576

(quoting Skilling, 561 U.S. at 402–03); see also Snyder, 144 S. Ct. at 1953 (discussing

the “lack of fair notice for state and local officials” and that “this Court’s precedents

caution against leaving the statute’s ‘outer boundaries ambiguous’”) (quoting

McDonnell, 579 U.S. at 577). McDonnell narrowly interpreted the federal bribery

statute’s “official act” requirement to avoid the “absurdities” and vagueness concerns

that would have otherwise resulted. McDonnell, 579 U.S. at 5717(quoting Sun–

Diamond, 526 U.S. at 412).

      The breadth of the Illinois bribery statute is revealed by the Illinois courts’

application of the “any act” statutory language without any limiting construction. In




                                           34
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 46 of 73 PageID #:1909




People v. Johnson, 780 N.E.2d 803 (Ill. App. Ct. 2002), for example, the Illinois

Appellate Court overturned the trial court’s dismissal of an indictment on vagueness

grounds by reasoning, in pertinent part, that the indictment alleged an intent to

influence an act that was related to the function of a public employee and tangential

to the duties of the employee’s office. Id. at 805–06. This sweeping construction of the

Illinois bribery statute will yield the very absurdities that provoked the Supreme

Court’s vagueness concerns and, consequently, chill representative-constituent

relations.

                     b.     Illinois Official Misconduct Statute

       The Illinois official misconduct provision criminalizing gratuities, § 5/33-

3(a)(4), is also facially void for vagueness under the Fifth and Fourteenth

Amendments. It applies the same, shapeless “any act” language seen in the Illinois

bribery statute. As a result, it too fails to define official misconduct “(1) with sufficient

definiteness that ordinary people can understand what conduct is prohibited and (2)

in a manner that does not encourage arbitrary and discriminatory enforcement.” Bell,

697 F.3d at 461 (quoting Skilling, 561 U.S. at 402–03). As a result, § 5/33-3(a)(4)

“foster[s] those same chilling concerns that attend [the] overbreadth challenge”

discussed above. Id. at 455.

       While Illinois courts have suggested the government must identify a specific

act to sustain a conviction under § 5/33-3(a)(4), see, e.g., People v. Jordan, 304 N.E.2d

713, 716 (Ill. App. Ct. 1973), they have not defined the scope of the required “act,” as

in McDonnell. As a result, the official misconduct statute is “not defined ‘with

sufficient definiteness that ordinary people can understand what conduct is


                                             35
  Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 47 of 73 PageID #:1910




prohibited,’ or ‘in a manner that does not encourage arbitrary and discriminatory

enforcement.’” McDonnell, 579 U.S. at 576 (quoting Skilling, 561 U.S. at 402–03).

Because § 5/33-3(a)(4) presents the same vagueness and attendant chilling concerns

that were raised in McDonnell, the statute is facially void for vagueness under the

Fifth and Fourteenth Amendments.4

               3.      The Illinois Bribery and Official Misconduct Statutes Are
                       Void for Vagueness as Applied to Madigan.

       Even if a statute is not invalidated as facially vague, it may still be vague as

applied to “the facts of the particular case.” See United States v. Cook, 970 F.3d 866,

873 (7th Cir. 2020). In such circumstances, a penal statute satisfies due process only

if it “define[s] the criminal offense (1) with sufficient definiteness that ordinary people

can understand what conduct is prohibited and (2) in a manner that does not

encourage arbitrary and discriminatory enforcement.” Bell, 697 F.3d at 461 (quoting

Skilling, 561 U.S. at 402–03). As to the first criterion, the touchstone is “whether the

statute, either standing alone or as construed, made it reasonably clear at the

relevant time that the defendant’s conduct was criminal.” United States v. Coscia,

866 F.3d 782, 792 (7th Cir. 2017) (quoting United States v. Lanier, 520 U.S. 259, 267

(1997)). As to the second criterion, “the defendant must prove that his prosecution

arose from arbitrary enforcement”; “this inquiry ‘involve[s] determining whether the

conduct at issue falls so squarely in the core of what is prohibited by the law that


4 Judge Dow held that Alderman Edward Burke could not challenge the Illinois bribery and official

misconduct statutes as facially vague because his alleged conduct “fit neatly into the [] core” of these
statutes. Burke, 2022 WL 1970189, at *43, 45. As discussed in the following section, Madigan’s alleged
conduct is not “clearly proscribed” by the Illinois bribery and official misconduct statutes; therefore,
he is not barred from raising a facial vagueness challenge. Id. at *42.



                                                  36
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 48 of 73 PageID #:1911




there is no substantial concern about arbitrary enforcement because no reasonable

enforcing officer could doubt the law’s application in the circumstances.’” Id. at 794

(quoting Farrell v. Burke, 449 F.3d 470, 494 (2d Cir. 2006)).

                   a.     Illinois Bribery Statute

      The Illinois bribery statute is impermissibly vague as applied because it did

not provide Madigan with fair notice that his alleged conduct – i.e., recommendations

for jobs to private employers – was (even arguably) criminal, nor did it protect him

from arbitrary and discriminatory enforcement.

      Lack of Fair Notice. As discussed above, the Illinois bribery statute’s “any

act” requirement falls well short of the definiteness provided by the federal bribery

statute’s “official act” requirement, particularly after Sun–Diamond and McDonnell.

As a result, it failed to make reasonably clear that Madigan’s conduct was criminal.

      Count One fails to make reasonably clear—even today—what of Madigan’s

conduct gave rise to the alleged RICO conspiracy. In fact, Count One fails to allege

any specific act that Madigan (or any other member of the purported enterprise)

agreed (or was aware of an intent) to “influence the performance of” in exchange for

the private benefits and personal financial advantage allegedly solicited and received

by the enterprise. 720 ILCS § 5/33-1(d)–(e). The closest Count One comes is asserting

that the “members and associates” of the purported “Madigan Enterprise”:

             (a) solicit[ed] and receiv[ed] bribes and unlawful personal
             financial advantage from persons and parties having
             business with the State of Illinois and the City of Chicago,
             or otherwise subject to the authority and powers vested in
             MADIGAN and other public officials acting on MADIGAN’s
             behalf; [and] (b) us[ed] MADIGAN’s powers as Speaker,
             including his ability to affect the progress of bills in the


                                          37
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 49 of 73 PageID #:1912




              House of Representatives, as well as his control over the
              resources of the Office of the Speaker, including its staff, in
              order to cause third parties to financially reward
              MADIGAN, his political allies, political workers, and
              associates. . . .

Dkt. 37 at 7–8. This allegation falls short. It does not allege knowledge or an

agreement on the part of Madigan, or any other member of the purported enterprise,

to attempt to “influence the performance of any act related to the employment or

function of any public officer.” 720 ILCS § 5/33-1(d)–(e) (emphasis added). And it

certainly does not allege a decision or action on a “specific and focused” “question,

matter, cause, suit, proceeding or controversy” involving “a formal exercise of

governmental power that is similar in nature to a lawsuit before a court, a

determination before an agency, or a hearing before a committee.” McDonnell, 579

U.S. at 574. Rather, it alleges the capability of the Speaker to affect bills or to control

his Office’s resources, generalized characteristics that accompanied the Office of the

Speaker. But it falls short of identifying conduct that can inform the basis of a bribery

charge—e.g., soliciting or receiving benefits to exercise those powers in a particular

way. Governmental power is not the same as government acts.

       Of course, the Superseding Indictment need not allege that Madigan himself

committed or agreed to commit the predicate acts of racketeering, United States v.

Tello, 687 F.3d 785, 792 (7th Cir. 2012) (citing Salinas v. United States, 522 U.S. 52,

63, 65–66 (1997)); nor need it allege that any such acts were ultimately committed by

anyone, id. (citing Salinas, 522 U.S. at 63). However, “[a] conspirator must intend to

further an endeavor which, if completed, would satisfy all of the elements of a

substantive criminal offense.” Salinas, 522 U.S. at 65. To avoid a “vagueness shoal,”


                                            38
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 50 of 73 PageID #:1913




the McDonnell Court required the government to prove a narrowly defined, “specific

and focused” official act to sustain a charge of bribery. 579 U.S. at 574, 576. The

government has failed to allege such an act here.

      Arbitrary Enforcement. As applied here, the Illinois bribery statute also

fails to protect against arbitrary and discriminatory enforcement. In lieu of alleging

a “specific and focused” act, the locus of Count One is Madigan’s position. Count One

asserts that the enterprise “us[ed] MADIGAN’s powers as Speaker, including his

ability to affect the progress of bills in the House of Representatives, as well as his

control over the resources of the Office of the Speaker, including its staff” to effectuate

certain of the enterprise’s activities. Dkt. 37 at 7–8. Count One further alleges that

Madigan, himself, “utilized his official positions as a Representative and Speaker” to

do the same. Id. at 8–9. Sun–Diamond portended the danger of such a theory,

warning that when “no particular ‘official act’ need be identified, and the giving of

gifts by reason of the recipient’s mere tenure in office constitutes a violation, nothing

but the government’s discretion” prevents benign conduct from being prosecuted. 526

U.S. at 408.

      The threat of arbitrary and discriminatory enforcement of the Illinois bribery

statute is not merely hypothetical. Publicly available information shows that other

Illinois politicians have recommended political allies and associates for private-sector

jobs—at utility companies, no less—yet no one has suggested that their conduct

violated the Illinois bribery statute. For example, Illinois House Minority Leader Jim

Durkin recommended former Illinois State Representative Thomas Walsh for




                                            39
  Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 51 of 73 PageID #:1914




employment with ComEd in November 2015, as the FEJA negotiations were ongoing.

McClain told ComEd, “I really believe it is a wise move to respond favorably to Leader

Durkin’s request.”5 In January 2016, McClain emailed ComEd again, asking: “Did we

hire Tom Walsh?”6 ComEd engaged Walsh as a subcontracting lobbyist in February

2016.7 In December 2016, Leader Durkin voted in favor of FEJA.8 Similarly, McClain

emailed Exelon in July 2016:

               I am just following up on my recommendation to you to hire
               Aaron Winters as a consultant for our efforts. . . .

               I think we are approaching a critical time with the
               Governor’s Office. I think we can use his abilities inside the
               Office, not to lobby, but to help us understand the new
               personalities and their thought processes.

               I hope you will take another look at him and consider hiring
               him as soon as possible.9

       In August 2016, Exelon engaged Winters’s lobbying firm.10 Governor Bruce


5 Email from M. McClain to F. Marquez on November 6, 2015, regarding “Walsh’s Resume.” Publicly

available at: https://ilga.gov/house/committees/101Documents/BSPE/2015.11.09%20COMED-SIC-
0000105.pdf.
6 Email from M. McClain to F. Marquez on January 19, 2016, regarding “Did we hire Tom Walsh?

Under [REDACTED]? Best, Mike.” Publicly available at:
https://ilga.gov/house/committees/101Documents/BSPE/2016.01.19%20COMED-SIC-0000109.pdf.
7 See Illinois Lobbying Entity Registration filed with the Illinois Secretary of State by Thomas J.

Walsh (Entity ID 3397) in 2016. Publicly available at: https://apps.ilsos.gov/lobbyistsearch/.
8 House Roll Call for Senate Bill 2814, 99th General Assembly for the State of Illinois (Dec. 1, 2016).

Publicly available at:
https://www.ilga.gov/legislation/votehistory/99/house/09900SB2814_12012016_007000T.pdf.
9 Email from M. McClain to Exelon employee on July 16, 2016, regarding “Aaron Winters R[e]sume.”

Publicly available at:
https://www.ilga.gov/house/committees/101Documents/BSPE/2016.07.16%20COMED-SIC-
0000154.pdf.
10 Winters joined Advantage Government Strategies on or about June 23, 2016; Exelon engaged

Advantage Government Strategies on or about August 2, 2016. See Illinois Lobbying Entity
Registration filed with the Illinois Secretary of State by Advantage Government Strategies, LLC
(Entity ID 7846) in 2016. Publicly available at: https://apps.ilsos.gov/lobbyistsearch/. On January 9,
2017, Winters registered his own lobbying firm, The Winters Group, with the Illinois Secretary of
State, identifying himself as a subcontracting lobbyist (under Advantage Government Strategies) for
Exelon. See Illinois Lobbying Entity Registration filed with the Illinois Secretary of State by The



                                                  40
  Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 52 of 73 PageID #:1915




Rauner signed FEJA into law in December 2016. As of the date of this motion, no

federal or state law enforcement agency has publicly announced bribery-related

charges against these public officials for recommending their former colleagues to

ComEd and Exelon before taking action on FEJA. To be clear, these examples are not

meant to suggest that Leader Durkin or Governor Rauner violated the Illinois bribery

statute, but rather to demonstrate a real concern of arbitrary and discriminatory

enforcement arising from this law.

                       b.     Illinois Official Misconduct Statute

       Similarly, even if § 5/33-3(a)(4) of the Illinois official misconduct statute is not

facially void for vagueness, it is unduly vague as applied. Section 5/33-3(a)(4), as

applied in Count One, does not define official misconduct with sufficient definiteness

to have “made it reasonably clear at the relevant time that [Madigan’s] conduct was

criminal,” Coscia, 866 F.3d at 792 (quoting Lanier, 520 U.S. at 267); nor does

Madigan’s conduct “fall[] so squarely in the core of what is prohibited by the law that

there is no substantial concern about arbitrary enforcement,” id. at 794 (quoting

Farrell, 449 F.3d at 494). For the same reasons the vast “any act” requirement

renders the Illinois bribery statute unduly vague as applied to Madigan, it also

renders vague the official misconduct statute’s proscription on gratuities, § 5/33-

3(a)(4).

               4.      The Illinois Bribery and Official Misconduct Statutes
                       Cannot    Be   Sufficiently Narrowed    by   Judicial
                       Construction.


Winters Group, LLC (Entity ID 7920) in 2017. Publicly available at:
https://apps.ilsos.gov/lobbyistsearch/.


                                                41
  Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 53 of 73 PageID #:1916




       No doubt, facially invalidating a statute is “strong medicine” that courts have

employed “sparingly and only as a last resort.” Broadrick v. Oklahoma, 413 U.S. 601,

613 (1973). But federal courts “lack jurisdiction authoritatively to construe state

legislation,” United States v. Thirty-Seven (37) Photographs, 402 U.S. 363, 369 (1971),

and Illinois courts have offered no basis for a narrowing construction. Accordingly,

this Court should treat the Illinois bribery statute, 720 ILCS § 5/33-1, and the

gratuity provision of the official misconduct statute, 720 ILCS § 5/33-3(a)(4), as a

nullity. See Davis, 139 S. Ct. at 2323 (“When Congress passes a vague law, the role

of courts under our Constitution is not to fashion a new, clearer law to take its place,

but to treat the law as a nullity and invite Congress to try again.”).

II.    ComEd

       A.     The Federal Program Bribery Charges Related to ComEd
              (Counts Two, Three, Four, and Six) Must Be Dismissed.

       For more than three decades, the Supreme Court has curtailed an array of

overbroad and vague bribery statutes. It has done so to ensure the statutes reach only

corrupt conduct and not the ordinary interactions between public officials and their

constituents. See, e.g., Snyder, 144 S. Ct. at 1953; McDonnell, 579 U.S. at 567, 574;

Skilling, 561 U.S. at 408–09; Sun–Diamond, 526 U.S. at 414; McCormick v. United

States, 500 U.S. 257, 274 (1991). Most recently, Snyder narrowed the scope of conduct

covered by § 666, which “prohibits state and local officials from accepting bribes that

are promised or given before the official act.” Snyder, 144 S. Ct. at 1953 (emphasis

in original). The Court held that section 666 does not criminalize gratuities ―

“token[s] of appreciation after the official act.” Id.



                                            42
  Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 54 of 73 PageID #:1917




       The Supreme Court recognized the concern that a bribe can corrupt an official

act taken by a public official, but also noted its concern about the statute’s potential

application to “acceptable commercial and business practices,” particularly for local

officials who are part-time and are allowed to hold outside employment. Snyder, 144

S. Ct. at 1953. The Court provided six different reasons why the statue should apply

only to bribes, which it defined as “payments made or agreed to before an official act

in order to influence the official with respect to that future act.” Id. at 1951 (emphasis

in original). Starting with the text, the Court recognized that “Congress modeled the

text of § 666(a)(1)(B) for state and local officials on § 201(b), the bribery provision for

federal officials” and noted that the two provisions share the same “defining

characteristics.” Id. at 1954. The Court also reviewed the history of the statute, its

structure, the potential punishments, principles of federalism, and the concepts of

overbreadth and fair notice. Id. As to the latter points, the Court explained that each

state is allowed to develop its own rules and regulations around gratuities and the

Court should hesitate before concluding that Congress prohibited conduct that state

and local officials otherwise allowed. Id. at 1957. Further, the Court rejected what it

called “the familiar plea that federal prosecutors can be trusted not to enforce the

statute against small-time violators,”11 and repeated its cautionary refrain that

federal prosecutors should not impose their own standards of good government on

local and state officials. Id. at 1958 (citing McDonnell, 579 U.S. at 577).



11 Snyder, 144 S. Ct. at 1958 (citing United States v. McDonnell, 579 U.S. 550, 575 (2016); Percoco v.

United States, 143 S.Ct. 1130, 1140 (2023); Ciminelli v. United States, 143 S.Ct. 1121, 1126 (2023);
Kelly v. United States, 140 S.Ct. 1565, 1574 (2020); Skilling v. United States, 561 U.S. 358 (2010)).



                                                 43
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 55 of 73 PageID #:1918




      The impact of Snyder on this case cannot be questioned. The current

prosecution team has argued for years now both in this case as well as the related

“ComEd Four” case that section 666 covered gratuities and did not require a quid pro

quo. The government undoubtedly charged this case and tried the related ComEd

case based on its mistaken views. See, e.g., United States v. McClain (20 CR 812),

Dkt. 249, No. 31; Dkt. 274 Trial Tr. 274: 6-9 (Government opening statement, arguing

that defendants sought “to reward past beneficial conduct to ComEd”); Dkt. 274, Trial

Tr. 290: 6-8 (Government arguing that defendants gave benefits “as a thank you to

reward [Madigan] for prior beneficial action towards ComEd”); Dkt. 325, at 27 n. 6,

90; see also Dkt. 312, Trial Tr. 5002: 17 – 5003: 12 (Mr. Bhachu: “As to the point that

was made that we are not pursuing a gratuity theory, that’s not correct. There is

actually substantial evidence that benefits were for the purpose of rewarding Mr.

Madigan . . . So in no way, shape, or form is the government’s plan or argument going

to be limited to this being a strict straight-up bribery case.”) Judge Leinenweber even

recognized as much, finding in post-trial motions that the jury could reasonably have

concluded that all of the payments at issue were made to reward Madigan for the

passage of EIMA, legislation that originally passed before the alleged conspiracy

began. (Id., Dkt. 257, at 14-15).

      The government was not only mistaken about gratuities, but also whether a

violation of § 666 requires a quid pro quo. After the government charged this case,

the Seventh Circuit decided United States v. Snyder, 71 F. 4th 555 (7th Cir. 2023). The

Seventh Circuit could not have been clearer, “A bribe requires a quid pro quo – an




                                          44
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 56 of 73 PageID #:1919




agreement to exchange this for that, to exchange money or something else of value

for influence in the future.” Id., at 579. The prosecution team nonetheless persisted

in arguing otherwise. Only when the Solicitor General weighed in and acknowledged

that the Seventh Circuit “correctly determined that Section 666 prohibits [] quid pro

quo bribery” did the prosecution team in this case start to crack. At the January 3,

2024 hearing in this case, the lead prosecutor stated, “In loose terms a bribe does

require a quid pro quo or at least an intention to reach a quid pro quo, and I think

that’s where the devil is in the details because these statutes, when you corruptly

solicit a payment in return for official action, your – your purpose is to enter a quid

pro quo. An actual quid pro quo is not required.” 22-CR-115, Jan. 4, 2014 Hearing Tr.

at 21-22 (emphasis supplied). Madigan is not going to speculate as to what line the

current prosecution team is trying to draw. But considering the Solicitor General’s

position on behalf of the Department of Justice, the Seventh Circuit’s definition in

Snyder, and now the Supreme Court’s Snyder decision making clear that § 201(b) and

§ 666 are parallels, there can be no question that the government is required to plead

and prove a quid pro quo to demonstrate a violation of § 666. The Supreme Court

made crystal clear that § 666 was modeled on the federal bribery statute, § 201, and

shared the same “defining characteristics.” Snyder, 144 S. Ct. at 1954; see also Sun-

Diamond, 526 U.S. at 404-05 (holding that bribery requires a “quid pro quo – a

specific intent to give or receive something of value in exchange for an official act.”)

             1.     Charges Based on a Bribery Theory Must Be Dismissed.

      “[A] good will gift to an official to foster a favorable business climate, given

simply with the ‘generalized hope or expectation of ultimate benefit on the part of the


                                           45
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 57 of 73 PageID #:1920




donor,’ does not constitute a bribe.” United States v. Jennings, 160 F.3d 1006, 1013

(4th Cir. 1998) (quoting United States v. Johnson, 621 F.2d 1073, 1076 (10th Cir.

1980)); cf. Sun–Diamond, 526 U.S. at 405–06 (18 U.S.C. § 201(c) does not criminalize

acts taken “to build a reservoir of goodwill that might ultimately affect one or more

of a multitude of unspecified acts, now and in the future”). Simply put, “ingratiation

and access . . . are not corruption.” Citizens United v. Fed. Election Comm’n, 558 U.S.

310, 360 (2010). To avoid sweeping this innocent conduct into the ambit of federal

anti-bribery statutes, the Supreme Court has required the government to identify a

quid pro quo—that is, “a specific intent to give or receive something of value in

exchange for an official act.” Sun–Diamond, 526 U.S. at 404–05 (discussing 18 U.S.C.

§ 201(b)).

       Fatally, here, the Superseding Indictment does not allege that Madigan

solicited, demanded, or accepted a quid pro quo connecting any official act to ComEd’s

hiring decisions. Counts Three, Four, and Six charge Madigan with violating

§ 666(a)(1)(B) by soliciting, demanding, and agreeing to accept things of value from

ComEd intending to be influenced “in connection with . . . legislation affecting ComEd

and its business.” Dkt. 37 at 64–65, 67. Premised largely on the same conduct, Count

Two charges Madigan with conspiring to, among other things, offer and accept bribes

under § 666(a)(1)(B), (a)(2), in violation of § 371. Id. at 23–24. Although each of these

counts tracks the language of § 666, the language of the statute alone is insufficient

to state all essential elements of a violation of the federal program bribery statute.

See Resendiz–Ponce, 549 U.S. at 109–10. As noted, bribery charges under § 666 must




                                           46
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 58 of 73 PageID #:1921




allege a quid pro quo—that is, a specific intent to give or receive something of value

in exchange for an official act. Snyder, 144 S. Ct. at 1951 (“bribes are payments made

or agreed to before an official act in order to influence the official with respect to that

future official act”). The Superseding Indictment fails to allege this essential quid pro

quo element.

      The government alleges that ComEd hired certain individuals or entities at

Madigan’s recommendation and contends that, because legislation affecting ComEd

passed the Illinois General Assembly during the same decade, crime was afoot. That

is not enough. Yes, the government identifies votes that Madigan previously had cast

with respect to prior energy legislation, but it failed to assert that Madigan took any

of those votes in exchange for its hiring decisions. Dkt. 37 at 31, 57. It is not enough

to allege that Madigan took actions that happened to benefit ComEd—indeed, myriad

interest groups across Illinois supported the same legislation as ComEd. Nor would

it be enough for the government to allege that Madigan took actions intending to

benefit ComEd. The government must allege that Madigan solicited jobs from ComEd

intending to take official acts to benefit ComEd in exchange for ComEd’s hiring

decisions. It has not done so.

      “Vague expectations of some future benefit” are not sufficient. United States v.

Allen, 10 F.3d 405, 411 (7th Cir. 1993). For example, in Jennings, the Fourth Circuit

reviewed the district court’s jury instructions, which “repeatedly charged that it was

sufficient if [the bribor] paid [the bribee] to influence [the bribee] ‘in connection with’




                                            47
  Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 59 of 73 PageID #:1922




or ‘in reference to’ HABC business.” Id. at 1022.12 The Jennings court found the jury

instructions were erroneous, reasoning that the district court’s “allusions to HABC

business were too general because they did not describe any official acts that [the

bribor] intended to induce with his payments to [the bribee].” Id. The Jennings court

explained that the jury instructions “could have described a situation in which [the

bribor] paid [the bribee] with a ‘[v]ague expectation[] of some future benefit,’” id.

(quoting Allen, 10 F.3d at 411); as a result, the jury instructions “did not necessarily

require the jury to find that [the bribor] had the intent to engage in a quid pro quo,”

id. The Superseding Indictment is just as vague. The government’s allusions to

“legislation affecting ComEd and its business,” Dkt. 37 at 24, 64–65, 67, fail to allege

a “specific type of official action” that has enough definiteness to support a quid pro

quo, Jennings, 160 F.3d at 1014. And without any factual allegations illustrating a

quid pro quo, the Superseding Indictment violates Madigan’s Fifth Amendment

rights to indictment by a grand jury and protection against double jeopardy, as well

as his Sixth Amendment right to be informed of the nature and cause of the

accusations against him. See Resendiz–Ponce, 549 U.S. at 108.13 Therefore, this Court


12 In Jennings, the defendant, a housing repair contractor, was convicted of violating § 666(a)(2) for

making payments to a Baltimore Housing Authority employee who awarded contracts for the
renovation of vacant housing units owned by the Authority. United States v. Jennings, 160 F.3d 1006,
1013 (4th Cir. 1998).
13 To establish a conspiracy to commit an offense against the United States in violation of § 371, “each

conspirator must have specifically intended that some conspirator commit each element of the
substantive offense.” United States v. Kelerchian, 937 F.3d 895, 915 (7th Cir. 2019) (quoting Ocasio v.
United States, 578 U.S. 282, 292 (2016)). “[T]he fundamental characteristic of a conspiracy is a joint
commitment to an ‘endeavor which, if completed, would satisfy all the elements of [the underlying
substantive] criminal offense.’” Id. (quoting Ocasio, 578 U.S. at 287). As discussed, an essential
element of a bribery charge under § 666 is a quid pro quo. Thus, for a charge of conspiracy to commit
bribery, the Superseding Indictment must allege that Madigan specifically intended that some
conspirator would give or receive something of value in exchange for a specific action (or course of
action) in connection with the business of the Illinois General Assembly.


                                                  48
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 60 of 73 PageID #:1923




should dismiss Counts Three, Four, and Six in full and Count Two (the conspiracy

count) to the extent it is based on a violation of § 666.

             2.     Charges Based on a Gratuity Theory Must Also Be
                    Dismissed.

      Snyder made clear that anything of value provided after the official act is not

violative of section 666. Snyder, 144 S. Ct. at 1954. The last official act identified in

the Superseding Indictment related to ComEd was Madigan’s vote on December 1,

2016 for the Future Energy Jobs Act (FEJA). (Dkt 37, Count II, ¶ 31(u)). Nonetheless,

the indictment identifies no less than four different hiring decisions by ComEd that

arose and took place after December 1, 2016. First, the indictment alleges that ComEd

hired and compensated Individual FR-1 starting in March 2017. (Id., Count II, ¶¶

1(x), 31(y), (ddd); Count III, Count IV, Count VI.) Second, the indictment alleges that

Madigan recommended Individual BM-1 to fill a vacant board seat starting in or

around November 2017. (Id., Count II, 31(aa)). Third, the indictment alleges that

Madigan recommended Individual 23W-1 in or around April 2018. (Id., Count II, ¶

31(ll)). Fourth, the indictment alleges that ComEd hired interns related to the 13th

Ward in 2017 and 2018. (Id., Count II, ¶¶ 31(z), (ff)-(hh), (eee)). The government does

not allege that Madigan agreed to take official action in exchange for any of these

hiring decisions. Nor could it.

      The government clearly brought these charges based on its belief that section

666 covered gratuities. That belief was mistaken – the allegations of benefits being

solicited and provided after the official act do not state an offense. Snyder, 144 S. Ct.

at 1959 (“a state or local official does not violate § 666 if the official has taken the



                                           49
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 61 of 73 PageID #:1924




official act before any reward is agreed to, much less given.”) Therefore, this Court

should dismiss Counts Three, Four, and Six in full and Count Two (the conspiracy

count) to the extent it is based on a violation of § 666.

      The government’s past references to an alleged McClain conversation about

HB 5626 (introduced in 2018) do not save these gratuity counts from dismissal. Count

II, paragraph 31(n)(n) alleges that “[i]n or around April 2018, Madigan gave McClain

permission to work to kill HB 5626 on behalf of ComEd, and ComEd thereafter

worked to defeat HB 5626.” The source of this allegation is one phone call between

McClain and another ComEd representative, where McClain reports a conversation

with Madigan. According to McClain, Madigan asked “Mike are you aware of this [the

proposed bill]?” McClain goes on to explain that he interpreted Madigan’s question

as some sort of permission to lobby against the proposed bill on behalf of ComEd.

There is no official act contemplated whatsoever, let alone any discussion of an

exchange for benefits. And, as the government well knows, the sponsor of the bill was

not aware of any efforts by Madigan to “kill” the bill and, in fact, believed that the

Speaker had in fact called a version of the bill for a vote. To the contrary, the sponsor

was well aware of Republican opposition and described to the government a number

of procedural tactics by Republicans to block the bill. Madigan neither contemplated

nor took any official action in relation to HB 5626. These counts were gratuities, and

any suggestion to the contrary is hogwash. Their dismissal in light of Snyder is

required.




                                           50
     Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 62 of 73 PageID #:1925




               3.      Without a Quid Pro Quo Requirement for Bribes or a Link
                       for Gratuities, § 666 Is Unconstitutional.

         If the prosecution team somehow wishes to persist in its disagreement with

the Solicitor General (and, more importantly, the Supreme Court) and this court was

inclined to find that § 666 does not require a quid pro quo, then it should hold § 666

unconstitutional. This essential element requires the government to allege a

connection between a thing of value conferred upon a public official and a specific

action intended to be influenced or rewarded. Without this foundational element,

§ 666 is overbroad in violation of the First Amendment and void for vagueness under

the Due Process Clause of the Fifth Amendment, both facially and as applied.

Therefore, Counts Two (in part), Three, Four, and Six must be dismissed pursuant to

Federal Rule of Criminal Procedure 12(b)(3)(B)(v), and stricken from the Superseding

Indictment pursuant to Federal Rule of Criminal Procedure 7(d).14

               4.      Counts Two, Three, Four, and Six Must Be Dismissed
                       Because the Indictment Fails to Allege the Appropriate
                       Mens Rea.

         Counts Two, Three, Four, and Six of the superseding indictment fail to allege

the appropriate mens rea under the statute. In Ruan v. United States, the Supreme

Court held that when a statute includes a mens rea, it modifies not only the words

following it, but also the words of the statue that distinguish wrongful from innocent

acts. 597 U.S. 450, 458 (2022). Ruan analyzed the appropriate scienter for “[e]xcept

as authorized” in 21 U.S.C. § 841. The Court examined this provision and other


14Madigan includes this argument out of an abundance of caution, as it understands that the
government may take the position that Snyder has no impact on this case. If the government argues
that section 666 does not require a quid pro quo, Madigan would incorporate as though fully stated
herein relevant sections from his originally filed motion to dismiss pre-Snyder. Dkt. 55, pp. 34-54.


                                                51
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 63 of 73 PageID #:1926




provisions in different criminal statutes, which all had some conduct that they did

not criminalize. The Court decided that these exceptions were “critical” for the mental

state required for the crime. Id. at 461. The Court emphasized that a “strong scienter

requirement helps to diminish the risk of ‘overdeterrence,’ i.e., punishing acceptable

and beneficial conduct that lies close to but on the permissible side, of the criminal

line.” Id. at 459. Accordingly, the Court rejected the government’s argument that the

“except as authorized” clause did not constitute an element, holding that the

government needed to demonstrate defendants “knowingly or intentionally acted in

an unauthorized manner.” Id. at 468. The government received some relief because

section 855 of the Controlled Substances Act specifically provides that an indictment

(or other charging document) need not negate every exemption or exception. Id. at

462. But section 855 of the Controlled Substances Act of course does not apply

here. Instead, the general rule requiring an indictment to set forth all elements of

the charged crime directly applies. Resendiz-Ponce, 549 U.S. at 108.

      Section 666 has a comparable exception as it “does not apply to bona fide

salary, wages, fees, or other compensation paid ... in the usual course of business.” 18

U.S.C. § 666(c). The Seventh Circuit has opined that the “[t]he natural reading of the

exception is that … compensation paid in the ordinary course shall not be construed

as a bribe.” United States v. Robinson, 663 F.3d 265, 272 (7th Cir. 2011); see also

United States v. Blagojevich, 794 F.3d 729, 736 (7th Cir. 2015) (“Compensation for a

job by someone other than a ghost worker is a ‘bona fide salary.’”). Thus, to

demonstrate that Madigan violated § 666, the government was required to allege not




                                          52
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 64 of 73 PageID #:1927




only that Madigan corruptly solicited something of value, but – as it relates to jobs –

that he corruptly solicited non-bona fide salary, wages, and fees for the individuals

identified in Counts Two (Individual 13W-1, Individual 13W-2, and Individual 23W-

1, Individual BM-1, Law Firm A, Thirteenth Ward Interns), Three (Individual BM-

1), Four (Individual 23W-1), and Six (Individual 13W-1, Individual 13W-2, and

Individual 23W-1). The indictment fails to allege that Madigan did so.

      Subcontractors. Counts Two, Four and Six allege that Madigan sought

employment for Individual 13W-1, Individual 13W-2, and Individual 23W-1

“intending . . . to be influenced and rewarded in connection with . . . legislation

affecting ComEd and its business.” Dkt. 37 at 29-30. Madigan recognizes that the

government has alleged that certain of these subcontractors performed little to no

work. This is insufficient as the government is required to allege that Madigan

corruptly solicited non-bona fide salary, wages, fees, or other compensation jobs for

these individuals. The government does not. Nor could it, as Madigan did not do so.

Therefore, Counts Two (in part), Four and Six must be dismissed. See Risk, 843 F.2d

at 1061.

      Individual BM-1. Counts Two and Three allege that Madigan sought

Individual BM-1’s appointment to ComEd’s board of directors. Dkt. 37 at 29-30, 64.

But there is no question that Individual BM-1 filled a vacant, pre-existing seat on

ComEd’s board of directors and performed the job to which he was appointed. See

Dkt. 37 at 63 (“On or about April 26, 2019, ComEd filed notice with the U.S. Securities

and Exchange Commission stating that Individual BM-1 had served as a director of




                                          53
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 65 of 73 PageID #:1928




ComEd since April 2019.”); Deferred Prosecution Agreement (“DPA”) at A-10, United

States v. ComEd, Case No. 20-CR-368 (N.D. Ill. July 17, 2020), ECF No. 3 (“Board

Member 1” filled a “vacant board seat” after “ComEd and Exelon conducted due

diligence on Board Member 1 and ultimately determined he was qualified for a

[b]oard position.”). Therefore, Counts Two and Three do not allege the proper mens

rea and must be dismissed. See United States v. Risk, 843 F.2d 1059, 1061 (7th Cir.

1988) (Where an indictment fails to charge a valid statutory violation, a district court

may dismiss the indictment “not because the government [can] not prove its case, but

because there [is] no case to prove.”).

      Law Firm A. Count Two alleges that “the conspirators caused ComEd to

retain Law Firm A, for the purpose of influencing and rewarding MADIGAN in

connection with MADIGAN’s official duties.” Dkt. 37 at 27. As with Individual BM-1,

the undisputed facts establish that Law Firm A performed substantive work for

ComEd. Count Two asserts that in 2011, “Law Firm A was retained by ComEd

pursuant to a contract that provided Law Firm A would be provided with

approximately 850 hours of work a year.” Id. ComEd entered into a new contract with

Law Firm A in 2016. Id. at 28. The DPA provides additional color about the renewal

discussions:

               [P]ersonnel within ComEd sought to reduce the hours of
               legal work they provided to Law Firm A from the 850 hours
               specified in the 2011 retention agreement because
               ComEd paid only for hours worked and there was not
               enough appropriate legal work to give Law Firm A to fill
               850 annual hours.




                                          54
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 66 of 73 PageID #:1929




DPA at A-11, ComEd, Case No. 20-CR-368 (emphasis added). Ultimately, “ComEd

agreed in or around June 2016 to renew Law Firm A’s contract with substantially

reduced annual hours.” Id. (emphasis added). These facts show, indisputably, that

ComEd not only expected Law Firm A to perform substantive legal work, but it

“substantially reduced [Law Firm A’s] annual hours” when it became concerned that

“there was not enough appropriate legal work to give Law Firm A.” Id. Because

ComEd’s retention of Law Firm A was bona fide and in the ordinary course of

business, it cannot be construed as a bribe. See Robinson, 663 F.3d at 272; cf. United

States v. Mills, 140 F.3d 630, 633 (6th Cir. 1998). Count Two does not allege the

proper mens rea and must be dismissed to the extent it is predicated on ComEd’s

retention of Law Firm A. See Risk, 843 F.2d at 1061.

      Thirteenth Ward Interns. Count Two alleges that “[i]t was further part of

the conspiracy that, for the purpose of influencing and rewarding MADIGAN, the

conspirators caused positions in the ComEd Internship Program to be set aside for

individuals associated with the Thirteenth Ward who were identified to ComEd by

McClain.” Dkt. 37 at 28. To be clear, this was “a summer internship program . . . that

provided paid internship positions to students.” Id. at 15. Here, again, there is no

contention that the internship positions in question were “unnecessary.” Mills, 140

F.3d at 633. In fact, Count Two quotes numerous emails stating that ComEd “put

aside,” “save[d],” or “allotted” a handful of internship “slots” for kids from the

Thirteenth Ward—language evincing that ComEd would have assigned the




                                         55
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 67 of 73 PageID #:1930




internships to someone else if not a student from the Thirteenth Ward. Dkt. 37 at 48–

49, 54, 60.

      Moreover, the Superseding Indictment makes no contention that students

hailing from the Thirteenth Ward did not “responsibly fulfill the[ir] duties.” Mills,

140 F.3d at 633. Rather, it asserts that “[b]ased on their performance during the

internship, participating students could be considered for subsequent summer

internship positions or full-time jobs within ComEd.” Dkt. 37 at 15. This says it all—

ComEd expected its interns to put in the work and, if the students proved their merit,

they might be invited back. The Thirteenth Ward Interns received bona fide

compensation “paid in the ordinary course” of the ComEd Internship Program;

accordingly, their hiring “shall not be construed as a bribe.” Robinson, 663 F.3d at

272. Count Two does not allege the proper mens rea and must be dismissed to the

extent it is predicated on ComEd’s hiring of Thirteenth Ward Interns. See Risk, 843

F.2d at 1061.

      B.      The Travel Act Charges Related to ComEd (Counts Five and
              Seven) Must Be Dismissed.

      Counts Five and Seven assert Travel Act violations predicated on conduct that

is purportedly unlawful under the Illinois bribery and legislative misconduct

statutes. Dkt. 37 at 66, 68. As discussed, the Illinois bribery statute is facially

overbroad and vague in violation of the First, Fifth, and Fourteenth Amendments.

See Argument, § I.C.1–2, supra. Therefore, pursuant to Federal Rule of Criminal

Procedure 12(b)(3)(B)(v), Counts Five and Seven must be dismissed insofar as they

are predicated on the Illinois bribery statute. And references to the Illinois bribery



                                         56
     Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 68 of 73 PageID #:1931




statute should be stricken from the Superseding Indictment pursuant to Federal Rule

of Criminal Procedure 7(d).

III.     Company A

         A.    The Federal Program Bribery Charge Related to Company A
               (Count Eleven) Must Be Dismissed.

         As discussed, if the prosecution team somehow wishes to persist in its

disagreement with the Solicitor General (and, more importantly, the Supreme Court)

and this court was inclined to find that § 666 does not require a quid pro quo, then it

should hold § 666 unconstitutional. This essential element requires the government

to allege a connection between a thing of value conferred upon a public official and a

specific action intended to be influenced or rewarded. Without this foundational

element, § 666 is overbroad in violation of the First Amendment and void for

vagueness under the Due Process Clause of the Fifth Amendment, both facially and

as applied. Therefore, Count Eleven must be dismissed pursuant to Federal Rule of

Criminal Procedure 12(b)(3)(B)(v), and stricken from the Superseding Indictment

pursuant to Federal Rule of Criminal Procedure 7(d).15

         B.    The Travel Act Charges Related to Company A (Counts Twelve,
               Thirteen, and Fourteen) Must Be Dismissed.

         Counts Twelve through Fourteen assert Travel Act violations predicated on

conduct that is purportedly unlawful under the Illinois bribery and legislative

misconduct statutes. Dkt. 37 at 79–81. As discussed, the Illinois bribery statute is



15Madigan includes this argument out of an abundance of caution, as it understands that the
government may take the position that Snyder has no impact on this case. If the government argues
that section 666 does not require a quid pro quo, Madigan would incorporate as though fully stated
herein relevant sections from his originally filed motion to dismiss pre-Snyder. Dkt. 55, pp. 34-54.


                                                57
  Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 69 of 73 PageID #:1932




facially overbroad and vague in violation of the First, Fifth, and Fourteenth

Amendments.16 See Argument, § I.C.1–2, supra. Therefore, pursuant to Federal Rule

of Criminal Procedure 12(b)(3)(B)(v), Counts Twelve, Thirteen, and Fourteen must be

dismissed insofar as they are predicated on the Illinois bribery statute. And

references to the Illinois bribery statute should be stricken from the Superseding

Indictment pursuant to Federal Rule of Criminal Procedure 7(d).

IV.     Chinatown Parking Lot

        A.      The Federal Program Bribery Charge Related to the
                Chinatown Parking Lot Must Be Dismissed.

        As discussed, if the prosecution team somehow wishes to persist in its

disagreement with the Solicitor General (and, more importantly, the Supreme Court)

and this court was inclined to find that § 666 does not require a quid pro quo, then it

should hold § 666 unconstitutional. This essential element requires the government

to allege a connection between a thing of value conferred upon a public official and a

specific action intended to be influenced or rewarded. Without this foundational

element, § 666 is overbroad in violation of the First Amendment and void for

vagueness under the Due Process Clause of the Fifth Amendment, both facially and

as applied. Therefore, Count Twenty-Two must be dismissed pursuant to Federal

Rule of Criminal Procedure 12(b)(3)(B)(v), and stricken from the Superseding




16 Counts Twelve through Fourteen cite subsections (a), (d), and (e) of the Illinois bribery statute, 720

ILCS § 5/33-1(a), (d), (e), as predicate unlawful activity for the Travel Act charges. Superseding
Indictment, at 79–81. Section I.C of the Argument, supra, addresses subsections (d) and (e) of the
Illinois bribery statute because those subsections form the predicate activity alleged in Count One.
Superseding Indictment, at 5, 11–12. Section 5/33-1(a) employs the same boundless “any act” language
that renders subsections (d) and (e) unconstitutional.


                                                  58
     Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 70 of 73 PageID #:1933




Indictment pursuant to Federal Rule of Criminal Procedure 7(d).17

         B.     The Travel Act Charge Related to the Chinatown Parking Lot
                (Count Twenty-Two) Must Be Dismissed.

         Count Twenty-Two asserts a Travel Act violation predicated on conduct that is

purportedly unlawful under the Illinois bribery and legislative misconduct statutes.

Dkt. 37 at 102. As discussed, the Illinois bribery statute is facially overbroad and

vague in violation of the First, Fifth, and Fourteenth Amendments.18 See Argument,

§ I.C.1–2, supra. Therefore, pursuant to Federal Rule of Criminal Procedure

12(b)(3)(B)(v), Count Twenty-Two must be dismissed insofar as it is predicated on the

Illinois bribery statute. And references to the Illinois bribery statute should be

stricken from the Superseding Indictment pursuant to Federal Rule of Criminal

Procedure 7(d).

V.       The Conspiracy Charge Related to AT&T (Count Twenty-Three) Must
         Be Dismissed Because it Fails to Allege that Madigan was Aware of
         and Agreed to Commit a Corrupt Exchange in violation of § 666.

         Count Twenty-Three asserts that Madigan took part in a conspiracy to violate

§ 666(a)(1)(B), (a)(2). Dkt. 37 at 104–05. The conspiracy, it alleges, was to arrange for

a former member of the Illinois House of Representatives, Individual FR-1, to be hired

by AT&T for the purpose of “influencing and rewarding” Madigan “in connection with

his official duties as Speaker” and “to assist AT&T Illinois with respect to the passage



17  Madigan includes this argument out of an abundance of caution, as it understands that the
government may take the position that Snyder has no impact on this case. If the government argues
that section 666 does not require a quid pro quo, Madigan would incorporate as though fully stated
herein relevant sections from his originally filed motion to dismiss pre-Snyder. Dkt. 55, pp. 34-54.
18 Like Counts Twelve through Fourteen, Count Twenty-Two cites subsections (a), (d), and (e) of the

Illinois bribery statute, 720 ILCS § 5/33-1(a), (d), (e), as predicate unlawful activity for the Travel Act
charges. Dkt. 37 at 102. See note 18, supra, regarding § 5/33-1(a).


                                                   59
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 71 of 73 PageID #:1934




of COLR legislation.” Id. at 105–06. Count Twenty-Three must be dismissed because

it fails to allege Madigan agreed to take an official act in exchange for AT&T’s

engagement of Individual FR-1; therefore, it necessarily fails to allege that Madigan

was aware of or agreed to commit a corrupt exchange in violation of § 666.

      “[T]he fundamental characteristic of a conspiracy is a joint commitment to an

‘endeavor which, if completed, would satisfy all the elements of [the underlying

substantive] criminal offense.’” United States v. Kelerchian, 937 F.3d 895, 915 (7th

Cir. 2019) (quoting Ocasio v. United States, 578 U.S. 282, 287 (2016)). “[E]ach

conspirator must have specifically intended that some conspirator commit each

element of the substantive offense.” Id. (quoting Ocasio, 578 U.S. at 292). As

discussed, a quid pro quo is an essential element of a § 666 charge. Thus, to charge

Madigan with conspiring to violate § 666, the government must allege that he knew

of the object of the conspiracy—i.e., that AT&T hired Individual FR-1 in exchange for

his support for COLR legislation—and agreed to accomplish its unlawful objective.

Id. at 914. Count Twenty-Three must be dismissed because it fails to allege that

Madigan knew of and agreed to effectuate such a transaction with AT&T.

      Agreement. Count Twenty-Three alleges that Madigan and McClain “sought

to obtain monetary payments for Individual FR-1 from AT&T”—a topic that McClain

purportedly broached in February 2017 when he contacted AT&T about a “small

contract” for Individual FR-1. Superseding Indictment, at 106, 108. Count Twenty-

Three further asserts that two days after McClain raised the topic of Individual FR-

1’s contract, “McCLAIN advised AT&T . . . that MADIGAN had assigned McCLAIN




                                         60
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 72 of 73 PageID #:1935




to work on the COLR legislation . . . as a ‘Special Project’ for MADIGAN.” Superseding

Indictment, at 106. As it relates to Madigan, Count Twenty-Three next identifies

three votes that Madigan cast in favor of COLR legislation on May 31, June 29, and

July 1, 2017. Superseding Indictment, at 111. In short, the government identifies a

“thing of value” on the one hand (Individual FR-1’s engagement) and an act on the

other (Madigan’s support of COLR legislation), and calls it a day. But that is not

enough. The government must also allege that the benefit was in exchange for the

official act; it has failed to do so. As a result, the government has necessarily failed to

allege that Madigan intended or agreed that his support for COLR (or any

subsequent) legislation would be “in exchange for” AT&T’s engagement of Individual

FR-1.

        Knowledge. Count Twenty-Three cites various emails among AT&T

employees discussing whether AT&T will “get credit from the powers that be” if

Individual FR-1 is engaged indirectly as a consultant through an intermediary,

instead of directly as a lobbyist. Superseding Indictment, at 109–10. But this

language does not prove a crime. Cf. United States v. Ring, 706 F.3d 460, 463 (D.C.

Cir. 2013) (“In order to more effectively communicate their clients’ policy goals,

lobbyists often seek to cultivate personal relationships with public officials.”). There

is no suggestion that AT&T hired Individual FR-1 in exchange for a specific official

act. More importantly, even if these internal emails sufficiently alleged (though they

do not) that AT&T intended its hiring of Individual FR-1 to bribe Madigan, Count




                                            61
 Case: 1:22-cr-00115 Document #: 131 Filed: 07/15/24 Page 73 of 73 PageID #:1936




Twenty-Three does not allege that Madigan knew of these emails or, more generally,

believed that AT&T harbored such an intent.

      Because Count Twenty-Three fails to allege that Madigan knew of the object

of the purported conspiracy and agreed to accomplish its unlawful objective, the

Superseding Indictment violates Madigan’s Fifth Amendment rights to indictment

by a grand jury and protection against double jeopardy, as well as his Sixth

Amendment right to be informed of the nature and cause of the accusations against

him. See Resendiz–Ponce, 549 U.S. at 108.

                                   Conclusion

      For the reasons given above, Madigan respectfully requests that Counts One

through Seven, Eleven through Fourteen, and Twenty-One through Twenty-Three be

dismissed.



Date: July 15, 2024

Respectfully submitted,

/s/ Daniel J. Collins                        /s/ Thomas M. Breen
Daniel J. Collins                            Thomas M. Breen
Lari A. Dierks                               Todd S. Pugh
Katten Muchin Rosenman LLP                   BREEN & PUGH
525 West Monroe Street                       53 W. Jackson Blvd., Suite 1550
Chicago, Illinois 60661                      Chicago, Illinois 60604
(312) 902-5434                               (312) 360-1001
Daniel.Collins@Katten.com                    tbreen@breenpughlaw.com
Lari.Dierks@Katten.com                       tpugh@breenpughlaw.com

Attorneys for Michael J. Madigan




                                        62
